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                    EXHIBIT 2
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P.:Jgc 1
X Terms of ServtCe
https :/ / twitter.com / en/ tos




     X Terms of Servic
       Terms of Servicee                                                                                                                                                                                                       Terms of
                                                                                                                                                                                                                               Terms of Service
                                                                                                                                                                                                                                        Service Archive
                                                                                                                                                                                                                                                Archive      Download PDF
                                                                                                                                                                                                                                                             Download PDF




     Terms ofof
     Terms
     Service
     Service
            Did someone say … cookies?                                                                                                                                                                                                  Accept all cookies
                                                                                                                        Effective: September 29, 2023
            X and its partners use cookies to provide you with a better, safer and faster service and to support our business. Some cookies are necessary to use our services, improve our
            services, and make sure they work properly. Show more about your choices            .
                                                                                                                                                                                                                                   Refuse non-essential cookies




                                                Summary
                                                Summary of
                                                        of our Terms
                                                           our Terms
                                                These
                                                These Terms
                                                      Terms of
                                                            of Service ("Terms") are
                                                               Service (“Terms”)     part of
                                                                                 are part of tthe
                                                                                               he User Agreement- aa legally
                                                                                                  User Agreement–    legally binding
                                                                                                                             binding contract
                                                                                                                                     contract governing
                                                                                                                                              governing your use of
                                                                                                                                                        your use of X.X. You
                                                                                                                                                                         You should
                                                                                                                                                                             should re ad these
                                                                                                                                                                                    read  these Terms
                                                                                                                                                                                                Terms of
                                                                                                                                                                                                      of Service
                                                                                                                                                                                                         Service
                                                {"Terms")
                                                (“Terms”) inin full,
                                                               full, but here are
                                                                     but here are a few key
                                                                                  a few key things
                                                                                            things you
                                                                                                   you should
                                                                                                       should take
                                                                                                              take away:
                                                                                                                   away:


                                                 • Yo
                                                   Youu will
                                                        will see
                                                             see advertising
                                                                 advertising on the platform:
                                                                             on the platform: In exchange for
                                                                                              In exchange for accessing
                                                                                                              accessing the
                                                                                                                        th e Services,
                                                                                                                             Services. X and our
                                                                                                                                       X and     third-party providers
                                                                                                                                             our third-party providers and
                                                                                                                                                                       and partners
                                                                                                                                                                           partners may
                                                                                                                                                                                    may ddisplay
                                                                                                                                                                                           isp lay advertising
                                                                                                                                                                                                   advertising toto
                                                   you.
                                                   you.


                                                 • When
                                                   When posting
                                                        posting Conte
                                                                Contentnt and
                                                                          and ootherwise
                                                                                the rwise using
                                                                                          u sing the
                                                                                                 t he Services,
                                                                                                      Services, you
                                                                                                                you must
                                                                                                                    must comply
                                                                                                                         comply with
                                                                                                                                with this User Agree
                                                                                                                                     this User       m ent and
                                                                                                                                               Agreement   and Appl icable Law:
                                                                                                                                                               Applicable  Law: You
                                                                                                                                                                                You are
                                                                                                                                                                                    are responsible for
                                                                                                                                                                                        responsible for
                                                   your
                                                   your use
                                                        use of the Services
                                                            of the Services and your Content.
                                                                            and your Content. You
                                                                                              You must comply with
                                                                                                  must comply with this
                                                                                                                   this User
                                                                                                                        User Agreement,
                                                                                                                             Jlqreement. its
                                                                                                                                         its incorporated
                                                                                                                                             incorporated policies.
                                                                                                                                                          policies, and
                                                                                                                                                                    and all
                                                                                                                                                                        all applicab
                                                                                                                                                                            applicablele laws.
                                                                                                                                                                                         laws.

                                                 • You must abide
                                                   You must       by the
                                                            abide by the Services' acc eptable use
                                                                         Services’ acceptable  use terms: You may
                                                                                                   terms: You may not
                                                                                                                  not access
                                                                                                                      access the
                                                                                                                             the Services
                                                                                                                                 Services in
                                                                                                                                          in any way other
                                                                                                                                             any way other than
                                                                                                                                                           than tthrough
                                                                                                                                                                  hrough tthe
                                                                                                                                                                           he currently
                                                                                                                                                                              currently available.
                                                                                                                                                                                        available,
                                                    pub lished interlaces
                                                    published  interfaces that we p
                                                                          that we   rovide. For
                                                                                  provide.  For example,
                                                                                                examp le. this
                                                                                                          l his means
                                                                                                                means that
                                                                                                                      t hat you
                                                                                                                            you cannot
                                                                                                                                cannot scrape
                                                                                                                                       scrape the
                                                                                                                                              the Services.
                                                                                                                                                  Services, try
                                                                                                                                                            try to
                                                                                                                                                                to work
                                                                                                                                                                   work around
                                                                                                                                                                        around any
                                                                                                                                                                               any technical
                                                                                                                                                                                   technical limitations
                                                                                                                                                                                             limitations we
                                                                                                                                                                                                         we impose.
                                                                                                                                                                                                            impose,
                                                    or
                                                    or otherwise
                                                       otherwise attempt
                                                                 attempt to
                                                                         to disrupt the operation
                                                                            disrupt the operation of
                                                                                                  of the
                                                                                                     the Services.
                                                                                                         Services.


                                                 • We
                                                   We hhave
                                                        ave broad
                                                            broad e nforcement rights:
                                                                  enforcement  rights: XX reserves
                                                                                          reserves the
                                                                                                   the right
                                                                                                       right to
                                                                                                             to take
                                                                                                                tak e enforcement
                                                                                                                      enforcemert actions
                                                                                                                                  actions against
                                                                                                                                          against you
                                                                                                                                                  you ifif you
                                                                                                                                                           you do
                                                                                                                                                               do violate
                                                                                                                                                                  violate these terms, such
                                                                                                                                                                          these terms,      as. for
                                                                                                                                                                                       such as,     example,
                                                                                                                                                                                                for example,
                                                    removing
                                                    removing your
                                                             your Content. limiting visibility,
                                                                  Content, limiting visibilit y. discontinuing
                                                                                                 discont inuing your access to
                                                                                                                your access to X,
                                                                                                                               X. or
                                                                                                                                  or taking
                                                                                                                                     taking legal
                                                                                                                                            legal act ion. We
                                                                                                                                                  action.  We m ay also
                                                                                                                                                              may  also suspend
                                                                                                                                                                        suspend or
                                                                                                                                                                                or tterminate
                                                                                                                                                                                     erminate your
                                                                                                                                                                                              your acco unt for
                                                                                                                                                                                                   account  for other
                                                                                                                                                                                                                other
                                                    reasons.
                                                    reasons, such
                                                             such as
                                                                  as prolonged
                                                                     prolonged inactivity.
                                                                               inactivity, risk of legal
                                                                                           risk of       exposure, or
                                                                                                   legal exposure, or commercial
                                                                                                                      commercial inviability.
                                                                                                                                 inviability.


                                                 • Ther
                                                   Theree are Intellec tual Property
                                                          are Intellectual           Li cen ses in
                                                                            Property Licenses   in these
                                                                                                   these Terms:
                                                                                                         Terms: You
                                                                                                                You retain
                                                                                                                    retain ownership
                                                                                                                           ownership and
                                                                                                                                     and rights
                                                                                                                                         rights to
                                                                                                                                                to any
                                                                                                                                                   any of
                                                                                                                                                       of your
                                                                                                                                                          your Content
                                                                                                                                                               Content you
                                                                                                                                                                       you post
                                                                                                                                                                           post or
                                                                                                                                                                                or share.
                                                                                                                                                                                   share, and
                                                                                                                                                                                          and you
                                                                                                                                                                                              you provide
                                                                                                                                                                                                  provide us
                                                                                                                                                                                                          us
                                                    with
                                                    with aa broad,
                                                            broad. royalty-free
                                                                    royalty-free license
                                                                                 license toto make
                                                                                              make your
                                                                                                    your Content
                                                                                                          Content available
                                                                                                                   available to
                                                                                                                             to the
                                                                                                                                the rest
                                                                                                                                    rest of
                                                                                                                                          of the
                                                                                                                                             the world
                                                                                                                                                 world and
                                                                                                                                                       and to  let others
                                                                                                                                                            to let others do
                                                                                                                                                                           do the
                                                                                                                                                                               the same.
                                                                                                                                                                                   same. Conversely.
                                                                                                                                                                                         Conversely, wewe pprovide
                                                                                                                                                                                                             rovide you
                                                                                                                                                                                                                    you aa
                                                    license to
                                                    license     use the
                                                             to use  the software
                                                                         software wew e provide
                                                                                        provide as
                                                                                                 as part of the
                                                                                                    part of the Services,
                                                                                                                Services. such
                                                                                                                          such asas the
                                                                                                                                    the X  mobile application,
                                                                                                                                         X mobile  application, solely
                                                                                                                                                                 solely for
                                                                                                                                                                        for the  purpose of
                                                                                                                                                                            the purpose  of enab ling you
                                                                                                                                                                                            enabling  you to
                                                                                                                                                                                                           to use
                                                                                                                                                                                                              use and
                                                                                                                                                                                                                   and enjoy
                                                                                                                                                                                                                       enjoy
                                                   tthe
                                                     he benefit
                                                        benefit of
                                                                of the
                                                                   the Services.
                                                                       Services.

                                                 • Your use o
                                                   Your use off the Services is
                                                                the Services is at your own
                                                                                at your own risk: We provide
                                                                                            risk: We provide the
                                                                                                             the Services
                                                                                                                 Services on
                                                                                                                          on an
                                                                                                                             an "AS IS" and
                                                                                                                                “AS IS” and "AS
                                                                                                                                            “AS AVAILABLE~
                                                                                                                                                AVAILABLE” basis.
                                                                                                                                                           basis, and
                                                                                                                                                                  and we
                                                                                                                                                                      we ddisclaim
                                                                                                                                                                           isclaim all
                                                                                                                                                                                   all warranties.
                                                                                                                                                                                       warranties,
                                                    responsibility,
                                                    responsib         and liability
                                                               ility. and           to you
                                                                          liability to you or
                                                                                           or others
                                                                                              others to
                                                                                                     to the
                                                                                                        the extent
                                                                                                            extent permitted
                                                                                                                   permitted by
                                                                                                                             by law.
                                                                                                                                law. You may be
                                                                                                                                     You may be exposed
                                                                                                                                                exposed to
                                                                                                                                                        to offensive
                                                                                                                                                           offensive or
                                                                                                                                                                     or harmful content posted
                                                                                                                                                                        harmful content posted by
                                                                                                                                                                                               by other
                                                                                                                                                                                                  other users.
                                                                                                                                                                                                        users. The
                                                                                                                                                                                                               The
                                                    Services
                                                    Services may
                                                             may change from time
                                                                 change from      to time,
                                                                             time to time, and
                                                                                           and we
                                                                                               we may
                                                                                                  may limit
                                                                                                      limit or
                                                                                                            or terminate
                                                                                                               terminate availability
                                                                                                                         availability of
                                                                                                                                      of the Services or
                                                                                                                                         the Services or particular
                                                                                                                                                         particular features
                                                                                                                                                                    features to
                                                                                                                                                                             to you
                                                                                                                                                                                you oror other
                                                                                                                                                                                         other users
                                                                                                                                                                                               users at
                                                                                                                                                                                                     at any
                                                                                                                                                                                                        any time.
                                                                                                                                                                                                            time.

                                                   Youu have
                                                 • Yo   have remedies and redress
                                                             remedies and redress mechanisms,  but our
                                                                                  mechan isms, but our liability  is limited:
                                                                                                       l iability is limited: You have aa right
                                                                                                                              You have    right to
                                                                                                                                                to terminate
                                                                                                                                                   terminate tthis agreement at
                                                                                                                                                               his agreement at any
                                                                                                                                                                                any time
                                                                                                                                                                                    time by
                                                                                                                                                                                         by deactivating
                                                                                                                                                                                            deactivating your
                                                                                                                                                                                                         your
                                                    account and
                                                    account and discontinuing
                                                                discontinuing use
                                                                              use of
                                                                                  of the
                                                                                     the Services. Notee that
                                                                                         Services. Not   that we
                                                                                                              we will
                                                                                                                 will not
                                                                                                                      not be
                                                                                                                          be liable for certain
                                                                                                                             liable for certain types
                                                                                                                                                types of
                                                                                                                                                      of ddamages as described
                                                                                                                                                           amages as described in the agreement.
                                                                                                                                                                               in the agreement, and
                                                                                                                                                                                                 and inin any
                                                                                                                                                                                                          any
                                                    event, our
                                                    event, our aggregate
                                                               aggregate liability
                                                                         liability shall
                                                                                   shall not
                                                                                         not exceed
                                                                                             exceed the
                                                                                                    the greater
                                                                                                        greater of
                                                                                                                of $100
                                                                                                                   $100 USD
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                                                                                                                            ()( the
                                                                                                                                the amount you paid
                                                                                                                                    amount you paid us,
                                                                                                                                                    us, ifif any.
                                                                                                                                                             any, inin the
                                                                                                                                                                       the past
                                                                                                                                                                           past six
                                                                                                                                                                                six months for the
                                                                                                                                                                                    months for the Services
                                                                                                                                                                                                   Services giving
                                                                                                                                                                                                            giving rise
                                                                                                                                                                                                                   rise
                                                    to the
                                                    to the claim.
                                                           claim. Further.
                                                                  Further, ifif you believe that
                                                                                you believe that your
                                                                                                 your Content
                                                                                                      Content has
                                                                                                              has been
                                                                                                                  been copied
                                                                                                                       copied inin aa way that constitutes
                                                                                                                                      way that constitutes copyright
                                                                                                                                                           copyright infringement.
                                                                                                                                                                     infringement, tthe reporting process
                                                                                                                                                                                     he reporting process is detailed in
                                                                                                                                                                                                          is detailed in
                                                    these Terms.
                                                    these Terms.

                                                Please also note
                                                Please also note tthat these Terms
                                                                   hat these Terms incorporate
                                                                                   incorporate our
                                                                                               our Privacy Policy (https://x.com/privacy)
                                                                                                   Privacy Policy ( https://x.com/privacy ) as well as other terms applicable to your use of the Services and your
                                                                                                                                            as well as other terms applicab le to your use of the Services and your
                                                Content. Finally,
                                                Content.          these terms
                                                         Finally. these terms may
                                                                              may vary depending on
                                                                                  vary depending on where
                                                                                                    where you
                                                                                                          you live,
                                                                                                              live. but in any
                                                                                                                    but in any case, you must
                                                                                                                               case. you must be at !east
                                                                                                                                              be at least 13 years ooldld to
                                                                                                                                                          13 years        to use X.
                                                                                                                                                                             use X.




                                                If you live
                                                If you
                                                       live outside
                                                            o utside tthe
                                                                       he European Union, EFTA
                                                                          European Union, EFTA States,
                                                                                               States, or
                                                                                                       or the
                                                                                                          the United
                                                                                                              United Kingdom,
                                                                                                                     Kin gdom, including
                                                                                                                               including ifif yo
                                                                                                                                              youu llive
                                                                                                                                                     ive in
                                                                                                                                                         in the
                                                                                                                                                            the United States, the
                                                                                                                                                                United States, !he X
                                                                                                                                                                                   X User
                                                                                                                                                                                     User Agreement
                                                                                                                                                                                          Agreement comprises
                                                                                                                                                                                                    comprises
                                                these
                                                these Terms
                                                      Terms of
                                                            of Service.
                                                               Service , our
                                                                         our Privacy
                                                                             Privacy Policy.  our Rules
                                                                                     Policy , our       and Policies.
                                                                                                  Rules and            and all
                                                                                                            Policies , and all incorporated
                                                                                                                               incorporated policies.
                                                                                                                                            policies.

                                                If you
                                                If     live in
                                                   you live in the European Union,
                                                               the European Union, EFTA Stat es, or
                                                                                   EFTA States,  o r the
                                                                                                     the Un it ed Kingdom,
                                                                                                         United   Kingdom, the
                                                                                                                           the XX User
                                                                                                                                  User Agreement
                                                                                                                                       Agreement comprises
                                                                                                                                                 comprises tthese
                                                                                                                                                             hese Terms
                                                                                                                                                                  Terms ofof Service.
                                                                                                                                                                             Service , our Privacy Policy,
                                                                                                                                                                                       our Privacy Policy , our Rules
                                                                                                                                                                                                            our Rules
                                                and
                                                and Policies.  and all
                                                    Policies , and     incorporated policies.
                                                                   all incorporated policies.




                                                X Terms of
                                                X Terms of Service
                                                           Service
                                                If you
                                                If     live outside
                                                   you live outside the  European Union,
                                                                     the European Union, EFTA
                                                                                         EFTA States,
                                                                                              St ates, o
                                                                                                       orr tthe
                                                                                                             he United
                                                                                                                United Kingdom,
                                                                                                                       Kingdom , including
                                                                                                                                 inc luding ifif you live in
                                                                                                                                                 you live in
                                                the  United States
                                                the United   Stat es

                                                These
                                                These Terms
                                                      Terms of
                                                            of Service (~Terms") govern
                                                               Service (“Terms”)        your access
                                                                                 govern your access to
                                                                                                    to and
                                                                                                       and use
                                                                                                           use of
                                                                                                               of our
                                                                                                                  our services,
                                                                                                                      services, including
                                                                                                                                including our
                                                                                                                                          our various websites. SM
                                                                                                                                              various websites, SMS,S. APls.
                                                                                                                                                                       APIs, email
                                                                                                                                                                             email notifications. applications.
                                                                                                                                                                                   notifications, applications,
                                                buttons.
                                                buttons, widgets,
                                                         widgets, ads,
                                                                  ads, commerce services, and
                                                                       commerce services, and our
                                                                                              our other
                                                                                                  other covered
                                                                                                        covered services
                                                                                                                services ((httpsJ/help.x.com/rules-and-policies/x-services-and-corporate-affiliates)  that link
                                                                                                                          https://help.x.com/rules-and-policies/x-services-and-corporate-affiliates ) that link to
                                                                                                                                                                                                                to
                                                these
                                                these Terms
                                                      Terms (collectively,
                                                            (collectively, the
                                                                           the ~services"). and any
                                                                               “Services”), and any information. text . links,
                                                                                                    information, text,  links. graphics,
                                                                                                                               graphics. photos,
                                                                                                                                         photos. audio.
                                                                                                                                                 audio, videos.
                                                                                                                                                        videos, or
                                                                                                                                                                or other materials or
                                                                                                                                                                   other materials or arrangements
                                                                                                                                                                                      arrangements of
                                                                                                                                                                                                   of materials
                                                                                                                                                                                                      materials
                                                uploaded. downloaded or
                                                uploaded, downloaded or appearing on the
                                                                        appearing on the Services
                                                                                         Services (collectively referred to
                                                                                                  (collectively referred to as
                                                                                                                            as “Content”).
                                                                                                                               "Cont ent"). By
                                                                                                                                            By using
                                                                                                                                               using the
                                                                                                                                                     the Services
                                                                                                                                                         Services you
                                                                                                                                                                  you agree
                                                                                                                                                                      agree to
                                                                                                                                                                            to be
                                                                                                                                                                               be bound by these
                                                                                                                                                                                  bound by these Terms.
                                                                                                                                                                                                 Terms.

                                                These Terms are
                                                These Terms are an
                                                                an agreement
                                                                   agreement between you and
                                                                             between you and XX Corp.,
                                                                                                Corp.. which
                                                                                                       which provides
                                                                                                             provides XX and
                                                                                                                         and the
                                                                                                                             the Services,
                                                                                                                                 Services. 1355
                                                                                                                                           1355 Market
                                                                                                                                                Market St reet. Suite
                                                                                                                                                       Street,  Suite 900.
                                                                                                                                                                      900, San
                                                                                                                                                                           San Francisco.
                                                                                                                                                                               Francisco, CA
                                                                                                                                                                                          CA 94103
                                                                                                                                                                                             94103 U.S.A.
                                                                                                                                                                                                   U.S.A. The
                                                                                                                                                                                                          The
                                                words "we," "“us,”
                                                words “we,”   us." and "ourM mean
                                                                   and “our” mean XX Corp.
                                                                                     Corp.




                                                                                                      Captu red by Fi reSh o t Pro: 09 Febru ary 2 024, 1 5 :5 8 : 1 4
                                                                                                                          h ttpsi/ /getftreshot .com
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P.:Jgc 2
X Terms of ServtCe
https:/ /twitter.com/en/tos



                                   1......W.h.2...ay
                                   1. Who May Use    Use the
                                                         the Services
                                                             Services

                                   2.
                                   2. Pri vacy
                                      Privacy                           1.1. Who
                                                                             Who May
                                                                                 May Use
                                                                                     Use the
                                                                                         the Services
                                                                                             Services
                                   3.
                                   3. Content on the
                                      Content on the Servi ces
                                                     Services

                                   4.
                                   4. U sin g the
                                      Using   the Services
                                                  Services              You may
                                                                        You  may use
                                                                                 use the
                                                                                      the Services
                                                                                          Services only
                                                                                                    only ifif you agree to
                                                                                                              you agree  to form
                                                                                                                            form aa binding
                                                                                                                                     binding contract
                                                                                                                                             contract with
                                                                                                                                                       with us
                                                                                                                                                            us and   are not
                                                                                                                                                                and are  not a  person barred
                                                                                                                                                                             a person     barred from
                                                                                                                                                                                                  from receiving
                                                                                                                                                                                                       receiving
                                                                        services under
                                                                        services under the
                                                                                        the laws
                                                                                            laws of
                                                                                                 of the
                                                                                                    the applicable     jurisdiction. In
                                                                                                        applicable jurisdiction.     In any case, you
                                                                                                                                        any case.  you must
                                                                                                                                                        must be  at least
                                                                                                                                                              be at least 13  years ooldld to
                                                                                                                                                                           13 years        to use
                                                                                                                                                                                              use the Services.
                                                                                                                                                                                                  the Services.
                                   5.
                                   5. Disclaimers
                                      Disclaimers and
                                                  and Limitations
                                                      Limitations       If you
                                                                        If you are
                                                                               are accepting
                                                                                   accepting these
                                                                                             these Terms
                                                                                                   Terms and
                                                                                                         and using the Services
                                                                                                             using the Services on
                                                                                                                                on behalf
                                                                                                                                   behalf of
                                                                                                                                          of aa company,
                                                                                                                                                company, organization,
                                                                                                                                                         organization, government,
                                                                                                                                                                       government, or
                                                                                                                                                                                   or other
                                                                                                                                                                                      other
                                   of Liabilit y
                                   of Liability
                                                                        legal entity,
                                                                        legal entity. you
                                                                                      you represent
                                                                                          represent and
                                                                                                    and warrant
                                                                                                        warrant that you are
                                                                                                                that you are authorized to do
                                                                                                                             authorized to do so
                                                                                                                                              so and
                                                                                                                                                 and have
                                                                                                                                                     have the
                                                                                                                                                          the authority
                                                                                                                                                              authority to
                                                                                                                                                                        to bind
                                                                                                                                                                           bind such
                                                                                                                                                                                such entity
                                                                                                                                                                                     entity to
                                                                                                                                                                                            to
                                   e.
                                   6. General
                                      General                           these Terms,
                                                                        these        in which
                                                                              Terms, in which case
                                                                                              case the
                                                                                                   the words
                                                                                                       WOfds “you” and ~your~
                                                                                                             ~you" and “your” as
                                                                                                                              as used
                                                                                                                                 used in these Terms
                                                                                                                                      in these Terms shall
                                                                                                                                                     shall refer
                                                                                                                                                           refer to
                                                                                                                                                                 to such
                                                                                                                                                                    such entity.
                                                                                                                                                                         entity.




                                                                        2. Privacy
                                                                        2. Privacy
                                                                        Our Privacy
                                                                        Our         Policy ((https://www.x.com/privacy)
                                                                            Privacy Policy   https://www.x.com/privacy ) describes
                                                                                                                         describes how we handle
                                                                                                                                   how we handle the information you
                                                                                                                                                 the information you provide to us
                                                                                                                                                                     provide to us when you
                                                                                                                                                                                   when you
                                                                        use the
                                                                        use the Services.
                                                                                Services. You
                                                                                          You understand
                                                                                              understand that
                                                                                                         that through your use
                                                                                                              through your use of
                                                                                                                               of the
                                                                                                                                  the Services
                                                                                                                                      Services you
                                                                                                                                               you consent
                                                                                                                                                   consent toto the
                                                                                                                                                                the collection
                                                                                                                                                                    collection and
                                                                                                                                                                               and use
                                                                                                                                                                                   use (as
                                                                                                                                                                                       (as set
                                                                                                                                                                                           set
                                                                        forth inin the
                                                                        forth          Privacy Policy)
                                                                                   the Privacy Policy) of
                                                                                                        of this
                                                                                                           this information, including the
                                                                                                                information, including  the transfer
                                                                                                                                            transfer of
                                                                                                                                                     of this
                                                                                                                                                         this information
                                                                                                                                                               information to
                                                                                                                                                                           to the
                                                                                                                                                                              the United States, Ireland.
                                                                                                                                                                                  United States. Ireland,
                                                                        and/or other
                                                                        and/or    other countries
                                                                                         countries for
                                                                                                    for storage,
                                                                                                        storage. processing   and use
                                                                                                                  processing and   use by
                                                                                                                                       by us
                                                                                                                                           us and
                                                                                                                                              and our
                                                                                                                                                   our affiliates.
                                                                                                                                                        affiliates.




                                                                        3. Content
                                                                        3. Content on the Services
                                                                                   on the Services
                                                                        You are responsible
                                                                        You are             for your
                                                                                responsible for      use of
                                                                                                your use of the
                                                                                                            the Services
                                                                                                                Services and
                                                                                                                         and fOf
                                                                                                                             for any
                                                                                                                                 any Content
                                                                                                                                     Content you provide, including
                                                                                                                                             you provide, including compliance with applicable
                                                                                                                                                                    compliance with applicable
                                                                        laws.
                                                                        laws, rules. and regulations.
                                                                              rules, and regulations. You
                                                                                                      You should
                                                                                                          should only
                                                                                                                 only pprovide
                                                                                                                        rovide Content
                                                                                                                               Content tthat
                                                                                                                                         hat you
                                                                                                                                             you are
                                                                                                                                                 are comfortable
                                                                                                                                                     comfortable sharing
                                                                                                                                                                 sharing with
                                                                                                                                                                         with others.
                                                                                                                                                                              others.

                                                                        Any use or
                                                                        Any use or reliance
                                                                                   reliance on any Content
                                                                                            on any Content or
                                                                                                           or materials
                                                                                                              naterials posted
                                                                                                                        posted via
                                                                                                                               via tthe
                                                                                                                                     he Services
                                                                                                                                        Services or
                                                                                                                                                 or obtained
                                                                                                                                                    obtained by
                                                                                                                                                             by you
                                                                                                                                                                you through
                                                                                                                                                                    through the
                                                                                                                                                                            the Services
                                                                                                                                                                                Services is at
                                                                                                                                                                                         is at
                                                                        your own
                                                                        your     risk. We
                                                                             own risk. We do
                                                                                          do not
                                                                                             not endorse,
                                                                                                 endorse. support, represent or
                                                                                                          support. represent or guarantee
                                                                                                                                guarantee tthe completeness, truthfulness.
                                                                                                                                            he completeness. truthfulness, accuracy.
                                                                                                                                                                           accuracy, or
                                                                                                                                                                                     or
                                                                        reliability ofof any
                                                                        reliability      any Content or communications
                                                                                             Content or communications posted
                                                                                                                       posted via
                                                                                                                              via the
                                                                                                                                  the Services or endorse
                                                                                                                                      Services or endorse any
                                                                                                                                                          any opinions
                                                                                                                                                              opinions expressed
                                                                                                                                                                       expressed via
                                                                                                                                                                                 via the
                                                                                                                                                                                     the
                                                                        Services. You
                                                                        Services. You understand
                                                                                      underst and that
                                                                                                  that by
                                                                                                       by using
                                                                                                          using tthe Services, you
                                                                                                                  he Services.     may be
                                                                                                                               you may    exposed to
                                                                                                                                       be exposed to Content
                                                                                                                                                     Content that might be
                                                                                                                                                             that might be offensive.
                                                                                                                                                                           offensive, harmf
                                                                                                                                                                                      harmful,
                                                                                                                                                                                             ul.
                                                                        inaccurate or
                                                                        inaccurate or otherwise
                                                                                      otherwise inappropriate,
                                                                                                inappropriate. or in some
                                                                                                               or in      cases, postings
                                                                                                                     some cases, postings tthat
                                                                                                                                            hat have been mislabeled
                                                                                                                                                have been mislabeled or
                                                                                                                                                                     or are
                                                                                                                                                                        are otherwise
                                                                                                                                                                            otherwise deceptive.
                                                                                                                                                                                      deceptive.
                                                                        All Content
                                                                        All          is the
                                                                            Content is  the sole
                                                                                             sole responsibility
                                                                                                   responsibility of
                                                                                                                  of the  person who
                                                                                                                      the person  who originated
                                                                                                                                       originated such
                                                                                                                                                   such Content. We may
                                                                                                                                                        Content. We   may not
                                                                                                                                                                          not monitor or control
                                                                                                                                                                              monitor or control the
                                                                                                                                                                                                 the
                                                                        Content posted
                                                                        Content   posted via
                                                                                           via the
                                                                                               the Services
                                                                                                    Services and,
                                                                                                              and, wewe cannot
                                                                                                                        cannot take
                                                                                                                                take responsibility
                                                                                                                                     responsibility !Of
                                                                                                                                                    for such
                                                                                                                                                        such Content.
                                                                                                                                                             Content.

                                                                        We reserve the
                                                                        We reserve the right
                                                                                       right to
                                                                                             to remove
                                                                                                remove Content
                                                                                                       Content that
                                                                                                               that violates
                                                                                                                    violates the User Agreement.
                                                                                                                             the User Agreement, including
                                                                                                                                                 including for
                                                                                                                                                           for example.
                                                                                                                                                               example, copyright
                                                                                                                                                                        copyright or trademark
                                                                                                                                                                                  or trademark
                                                                        violations or other
                                                                        violations or other intellectual
                                                                                            intellectual property
                                                                                                         property misappropriation,
                                                                                                                  misappropriation. impersonat ion. unlawfu
                                                                                                                                    impersonation,  unlawful l conduct
                                                                                                                                                               conduct, . or
                                                                                                                                                                          or harassment. Information
                                                                                                                                                                             harassment. Information
                                                                        regarding specific policies
                                                                        regarding specific policies and
                                                                                                    and the
                                                                                                        the process
                                                                                                            process for
                                                                                                                    for reporting
                                                                                                                        reporting Of
                                                                                                                                  or appealing
                                                                                                                                     appealing violations
                                                                                                                                               violations can
                                                                                                                                                          can be
                                                                                                                                                              be found
                                                                                                                                                                 found in
                                                                                                                                                                       in our Help Center
                                                                                                                                                                          our Help Center
                                                                        (https://help.x.com/rules-and   -policies/)(-report-violation#spec1fic-violat ions and https://help .x.com/managing-your-
                                                                        ( https://help.x.com/rules-and-policies/x-report-violation#specific-violations and https://help.x.com/managing-your-

                                                                        account/suspended-x-accounts).
                                                                        account/suspended-x-accounts ).

                                                                        If you believe that your Content has been copied in a way that constitutes copyright infringement. please report this by
                                                                        If you believe that your Content has been copied in a way that constitutes copyright infringement, please report this by

                                                                        visiting
                                                                        visit ing our
                                                                                  our Copyright
                                                                                      Copyright reporting form ((hnps://help.x.com/forms/dmca)
                                                                                                reporting form   https://help.x.com/forms/dmca ) or
                                                                                                                                                 or contacting our designated
                                                                                                                                                    contacting our designated copyright
                                                                                                                                                                              copyright agent
                                                                                                                                                                                        agent at:
                                                                                                                                                                                              at :


                                                                        X Corp.
                                                                        X Corp.
                                                                        Attn: Copyright Agent
                                                                        Attn: Copyright Agent
                                                                        1355 Market
                                                                        1355 Market Street,
                                                                                    Street, Suite
                                                                                            Suite 900
                                                                                                  900
                                                                        San
                                                                        San Francisco. CA 94103
                                                                            Francisco, CA 94103
                                                                        Repor1s:
                                                                        Reports: htlps:/lhelp .)(.COmlfOfms/dmca
                                                                                 https://help.x.com/forms/dmca
                                                                        Email: copyright@x.com
                                                                        Email: copyright@x.com



                                                                        Your Rights
                                                                        Your Rights and
                                                                                    and Grant
                                                                                        Grant of
                                                                                              of Rights
                                                                                                 Rights in the Content
                                                                                                        in the Content

                                                                        You retain
                                                                        You retain your
                                                                                   your rights
                                                                                        rights to
                                                                                               to any
                                                                                                  any Content
                                                                                                      Content you submit, post
                                                                                                              you submit. post or
                                                                                                                               or ddisplay  on or
                                                                                                                                     isplay on or through
                                                                                                                                                  through the
                                                                                                                                                          the Services.
                                                                                                                                                              Services. What's
                                                                                                                                                                        What’s yours
                                                                                                                                                                               yours is yours —-
                                                                                                                                                                                     is yours
                                                                        you own
                                                                        you     your Content
                                                                            own your Content (and
                                                                                             (and your
                                                                                                  your incorporated  audio, photos
                                                                                                       incorp:,rated audio,        and videos
                                                                                                                            photos and videos are
                                                                                                                                              are considered
                                                                                                                                                  considered part
                                                                                                                                                             part of
                                                                                                                                                                  of the
                                                                                                                                                                     the Content).
                                                                                                                                                                         Content).

                                                                        By submitting,
                                                                        By  submitting. posting
                                                                                         posting or
                                                                                                  or displaying
                                                                                                     displaying Content   on or
                                                                                                                 Content on  or through
                                                                                                                                through the
                                                                                                                                         the Services,
                                                                                                                                             Services, you
                                                                                                                                                       you grant
                                                                                                                                                           grant us
                                                                                                                                                                  us a worldwide, non-exclusive.
                                                                                                                                                                     a WOfldwide.  non-exclusive,
                                                                        royalty-free license
                                                                        royalty-free license (with  the right
                                                                                             (with the  right to
                                                                                                              to sublicense) to use.
                                                                                                                 sublicense) to use, copy.
                                                                                                                                     copy, reproduce.
                                                                                                                                            reproduce, process,  adapt, modify.
                                                                                                                                                       process. adapt.   modify, publish.
                                                                                                                                                                                 publish, transmit.
                                                                                                                                                                                          transmit,
                                                                         display and
                                                                        display     and distribute
                                                                                         d istribute such Content inin any
                                                                                                     such Content           and all
                                                                                                                       any and       media or
                                                                                                                                 all media  or ddistribution
                                                                                                                                                  istribution methods
                                                                                                                                                               methods nownow known
                                                                                                                                                                               known oror later
                                                                                                                                                                                          later developed
                                                                                                                                                                                                developed (for
                                                                                                                                                                                                            (for
                                                                        cclarity,
                                                                           larity, these
                                                                                   these rights
                                                                                          rights include,
                                                                                                  include, for
                                                                                                           for example,   curating, transforming,
                                                                                                               example, curating,    transforming, and and ttranslating). This license
                                                                                                                                                             ranslating). This          authorizes us
                                                                                                                                                                               license authorizes   us to make your
                                                                                                                                                                                                       to make   your
                                                                        Content available
                                                                        Content            to the
                                                                                 available to the rest
                                                                                                  rest of
                                                                                                        of the
                                                                                                           the world and to
                                                                                                               world and  to let  others do
                                                                                                                             let others  do the
                                                                                                                                             the same.
                                                                                                                                                 same. You
                                                                                                                                                       You agree
                                                                                                                                                            agree that
                                                                                                                                                                  that this
                                                                                                                                                                         this license
                                                                                                                                                                              license includes
                                                                                                                                                                                      includes the  right for
                                                                                                                                                                                                the right for
                                                                        us to
                                                                        us    provide, promote,
                                                                           to provide, promote, and
                                                                                                  and improve
                                                                                                       improve the   Services and
                                                                                                                 the Services   and to
                                                                                                                                     to make   Content submitted
                                                                                                                                        make Content   submitted ttoo Of
                                                                                                                                                                      or through
                                                                                                                                                                          through the
                                                                                                                                                                                   the Services  available to
                                                                                                                                                                                       Services available   to
                                                                        other companies,
                                                                        other companies. organizations
                                                                                         organizations or
                                                                                                       or individuals  for the
                                                                                                          ind ividuals for the syndication.
                                                                                                                               syndication, broadcast, distribution,
                                                                                                                                            broadcast. d              repost, promotion
                                                                                                                                                         istribution. repost. promotion oror
                                                                        publication of
                                                                        publication of such
                                                                                       such Content
                                                                                            Content on
                                                                                                    on other
                                                                                                       o ther media and services,
                                                                                                              media and services, subject
                                                                                                                                  subject to
                                                                                                                                          to our
                                                                                                                                             our terms and conditions
                                                                                                                                                 terms and conditions !for such Content
                                                                                                                                                                        Of such Content use.
                                                                                                                                                                                        use.
                                                                        Such additional
                                                                        Such additional uses
                                                                                        uses by us, or
                                                                                             by us. or other
                                                                                                       other companies, organizations or
                                                                                                             companies. organizations or individuals,
                                                                                                                                         individuals. is made with
                                                                                                                                                      is made with no
                                                                                                                                                                   no compensat
                                                                                                                                                                      compensation
                                                                                                                                                                                ion paid to you
                                                                                                                                                                                    paid to you
                                                                        with respect
                                                                        with respect to the Content
                                                                                     to the Content that
                                                                                                    that you
                                                                                                         you submit, post, transmit
                                                                                                             submit. post, transmit or
                                                                                                                                    or otherwise
                                                                                                                                       otherwise make
                                                                                                                                                 make available
                                                                                                                                                      available through
                                                                                                                                                                through the
                                                                                                                                                                        the Services as the
                                                                                                                                                                            Services as the use
                                                                                                                                                                                            use
                                                                        of the
                                                                        of the Services
                                                                               Services by
                                                                                        by you
                                                                                           you isis hereby
                                                                                                    hereby agreed as being
                                                                                                           agreed as being sufficient compensation
                                                                                                                           sufficient compensat     for tthe
                                                                                                                                                ion for      Content and
                                                                                                                                                          he Content and grant
                                                                                                                                                                         grant of
                                                                                                                                                                               of rights herein.
                                                                                                                                                                                  rights herein.


                                                                        We have
                                                                        We have an
                                                                                an evolving
                                                                                   evolving set
                                                                                            set of
                                                                                                of rules for how
                                                                                                   rules for     ecosystem partners
                                                                                                             how ecosystem          can interact
                                                                                                                           partners can interact with
                                                                                                                                                 with your
                                                                                                                                                      your Content
                                                                                                                                                           Content on
                                                                                                                                                                   on the
                                                                                                                                                                      the Services.
                                                                                                                                                                          Services. These rules
                                                                                                                                                                                    These rules
                                                                        existt toto enable
                                                                        exis               an open
                                                                                    enable an open ecosystem
                                                                                                   ecosystem with your rights
                                                                                                             with your rights in mind. You
                                                                                                                              in mind. You understand
                                                                                                                                           understand that we may
                                                                                                                                                      that we may modify
                                                                                                                                                                  modify or
                                                                                                                                                                         or adapt
                                                                                                                                                                            adapt your
                                                                                                                                                                                  your Content
                                                                                                                                                                                       Content
                                                                        as itit isis distributed,
                                                                        as           distributed. syndicated,
                                                                                                  syndicated, published, or broadcast
                                                                                                              published, or broadcast by
                                                                                                                                      by us
                                                                                                                                         us and
                                                                                                                                            and our
                                                                                                                                                our partners
                                                                                                                                                    partners and/or
                                                                                                                                                             and/or make
                                                                                                                                                                    make changes
                                                                                                                                                                         changes toto your
                                                                                                                                                                                      your Content
                                                                                                                                                                                           Content inin
                                                                        order to
                                                                        order t o adapt
                                                                                  adapt the
                                                                                        the Content
                                                                                            Content to
                                                                                                    to different
                                                                                                       different media.
                                                                                                                 media.


                                                                        You represent
                                                                        You represent and
                                                                                      and warrant
                                                                                          warrant that
                                                                                                  that you
                                                                                                       you have, or have
                                                                                                           have. or have obtained.
                                                                                                                         obtained, all rights, licenses,
                                                                                                                                   all rights.           consents, permissions.
                                                                                                                                               licenses. consents, permissions, power
                                                                                                                                                                                power and/or
                                                                                                                                                                                      and/or
                                                                        authority necessary
                                                                        authority necessary to
                                                                                            to grant
                                                                                               grant the
                                                                                                     the rights
                                                                                                         rights granted herein for
                                                                                                                granted herein for any
                                                                                                                                   any Content
                                                                                                                                       Content that you submit.
                                                                                                                                               that you submit, post
                                                                                                                                                                post or
                                                                                                                                                                     or display
                                                                                                                                                                        display on
                                                                                                                                                                                on Of
                                                                                                                                                                                   or through
                                                                                                                                                                                      through the
                                                                                                                                                                                              the
                                                                        Services. You
                                                                        Services. You agree
                                                                                      agree that
                                                                                            that such Content will
                                                                                                 such Content       not contain
                                                                                                              'Nill not contain material
                                                                                                                                material subject
                                                                                                                                         subject to
                                                                                                                                                 to copyright or other
                                                                                                                                                    copyright or other proprietary
                                                                                                                                                                       proprietary rights, unless
                                                                                                                                                                                   rights. unless
                                                                        you have
                                                                        you have necessary
                                                                                 necessary permission
                                                                                           permission or
                                                                                                      or are
                                                                                                         are otherwise  legally entitled
                                                                                                             ot herwise legally entitled to
                                                                                                                                         to post
                                                                                                                                            post the
                                                                                                                                                 the material
                                                                                                                                                     material and
                                                                                                                                                              and to
                                                                                                                                                                  to grant
                                                                                                                                                                     grant us
                                                                                                                                                                           us the
                                                                                                                                                                              the license
                                                                                                                                                                                  license
                                                                        described above.
                                                                        described above.




                                                                        4. Using
                                                                        4. Using the
                                                                                 the Services
                                                                                     Services
                                                                        Please
                                                                        Please review our Rules
                                                                               review our       and Policies
                                                                                          Rules and Policies., which
                                                                                                               which are
                                                                                                                     are part
                                                                                                                         part of
                                                                                                                              of the
                                                                                                                                 the User
                                                                                                                                     User Agreement
                                                                                                                                          Agreement and
                                                                                                                                                    and outline
                                                                                                                                                        outline cond uct that
                                                                                                                                                                conduct  that is
                                                                                                                                                                              is prohibited
                                                                                                                                                                                 prohibited on the
                                                                                                                                                                                            on the
                                                                        Services. You may
                                                                        Services. You may use
                                                                                          use the
                                                                                              the Services
                                                                                                  Services only
                                                                                                           only in
                                                                                                                in compliance
                                                                                                                   compliance with
                                                                                                                              with these
                                                                                                                                   these Terms
                                                                                                                                         Terms and
                                                                                                                                               and all applicable laws,
                                                                                                                                                   all applicable laws, rules
                                                                                                                                                                        rules and
                                                                                                                                                                              and regulations.
                                                                                                                                                                                  regulations. X
                                                                                                                                                                                               X
                                                                        takes enforcement actions
                                                                        takes enforcement actions when
                                                                                                  when Content
                                                                                                       Content or
                                                                                                               or user
                                                                                                                  user behavior
                                                                                                                       behavior is
                                                                                                                                is in
                                                                                                                                   in violation
                                                                                                                                      violation of
                                                                                                                                                of our Rules and
                                                                                                                                                   our Rules and Policies
                                                                                                                                                                 Policies or
                                                                                                                                                                          or in
                                                                                                                                                                             in relation to
                                                                                                                                                                                relation to
                                                                        sensitive media. You
                                                                        sensitive media. You can
                                                                                             can review
                                                                                                 review X’s
                                                                                                        X's enforcement
                                                                                                            enforcement options
                                                                                                                        options and
                                                                                                                                and how
                                                                                                                                    how you
                                                                                                                                        you can
                                                                                                                                            can appeal
                                                                                                                                                appeal our
                                                                                                                                                       our enfOfcement
                                                                                                                                                           enforcement decision
                                                                                                                                                                       decision here.
                                                                                                                                                                                here .

                                                                        The Services evolve
                                                                        The Services evolve constantly.
                                                                                            constantly. As
                                                                                                        As such,
                                                                                                           such, the
                                                                                                                 the Services may change
                                                                                                                     Services may change from
                                                                                                                                         from time
                                                                                                                                              time to
                                                                                                                                                   to time.
                                                                                                                                                      time, at
                                                                                                                                                            at our
                                                                                                                                                               our discretion. We may
                                                                                                                                                                   discretion. We     stop
                                                                                                                                                                                  may stop
                                                                        (permanently or temporarily)
                                                                        (permanently or temporarily) providing
                                                                                                     providing the
                                                                                                               the Services
                                                                                                                   Services or
                                                                                                                            or any
                                                                                                                               any features
                                                                                                                                   features within the Services
                                                                                                                                            within the Services ttoo you
                                                                                                                                                                     you or
                                                                                                                                                                         or to
                                                                                                                                                                            to users
                                                                                                                                                                               users generally. We
                                                                                                                                                                                     generally. We
                                                                        aalso
                                                                          lso retain
                                                                              retain the
                                                                                     the right
                                                                                         right to
                                                                                               to create
                                                                                                  create limits
                                                                                                         limits on
                                                                                                                on use
                                                                                                                   ~se and
                                                                                                                       and storage
                                                                                                                           storage at
                                                                                                                                   at our sole d
                                                                                                                                      our sole   iscretion at
                                                                                                                                               discretion  at any
                                                                                                                                                              any time.
                                                                                                                                                                  time. We may also
                                                                                                                                                                        We may      remove or
                                                                                                                                                                               also remove or refuse
                                                                                                                                                                                              refuse
                                                                        to distribute any
                                                                        to distribute     Content on
                                                                                      any Content on the
                                                                                                     the Services,
                                                                                                         Services. limit
                                                                                                                   limit distribution
                                                                                                                         distribution or
                                                                                                                                      or visibility
                                                                                                                                         visibility of any Content
                                                                                                                                                    of any Content on
                                                                                                                                                                   on the
                                                                                                                                                                      the service.
                                                                                                                                                                          service, suspend
                                                                                                                                                                                   suspend or
                                                                                                                                                                                           or
                                                                        terminate
                                                                        terminate users. and reclaim
                                                                                  users, and reclaim usernames
                                                                                                     usemames without  liability to
                                                                                                               without liability to you
                                                                                                                                    you. .

                                                                        In consideration
                                                                        In consideration for
                                                                                         for our
                                                                                             our granting
                                                                                                 granting you
                                                                                                          you access to and
                                                                                                              access to and use
                                                                                                                            use ofof the
                                                                                                                                     the Sefvices.
                                                                                                                                         Services, you
                                                                                                                                                   you agree
                                                                                                                                                       agree tthat we and
                                                                                                                                                               hat we and our
                                                                                                                                                                          our tthird-party providers
                                                                                                                                                                                hird-party providers
                                                                        and partners
                                                                        and  partners may
                                                                                      may place
                                                                                          place advertising
                                                                                                advertising on
                                                                                                            on the  Services or
                                                                                                                the Services   or inin connection
                                                                                                                                       connection with
                                                                                                                                                    with the
                                                                                                                                                          the display
                                                                                                                                                              display of
                                                                                                                                                                       of Content
                                                                                                                                                                          Content or
                                                                                                                                                                                   or information
                                                                                                                                                                                      information from
                                                                                                                                                                                                   from the
                                                                                                                                                                                                        the
                                                                        Services whether
                                                                        Services  whether submitted
                                                                                          submitted by
                                                                                                     by you
                                                                                                        you or others. We
                                                                                                            or others.  We also
                                                                                                                            also reserve
                                                                                                                                  reserve thethe right
                                                                                                                                                 right to
                                                                                                                                                       to access,
                                                                                                                                                           access, read.
                                                                                                                                                                    read, preserve,  and disclose
                                                                                                                                                                           preserve. and  disclose any
                                                                                                                                                                                                    any
                                                                        information as we
                                                                        information as we reasonably
                                                                                          reasonably believe
                                                                                                     believe isis necessary
                                                                                                                  necessary to
                                                                                                                            to (i) satisfy any applicable law, regulation, legal process Of
                                                                                                                               (i) satisfy any applicable law, regulation, legal process or

                                                                        governmental request,
                                                                        governmental          (iO enforce
                                                                                     request. (ii) enforce the
                                                                                                           the Terms,
                                                                                                               Terms. including
                                                                                                                      including investigation of potential
                                                                                                                                investigation of potential violations
                                                                                                                                                           violations hereof,
                                                                                                                                                                      hereof, (iiO  detect, prevent.
                                                                                                                                                                              (iii) detect. prevent, or
                                                                                                                                                                                                     or
                                                                        otherwise address fraud,
                                                                        otherwise address fraud, security
                                                                                                 security or
                                                                                                          Of technical
                                                                                                             technical issues.
                                                                                                                       issues, (iv)
                                                                                                                               (iv) respond
                                                                                                                                    respond to
                                                                                                                                            to user
                                                                                                                                               user support
                                                                                                                                                    support requests,
                                                                                                                                                            requests, oror (v)
                                                                                                                                                                           (v) protect the rights,
                                                                                                                                                                               protect the rights,
                                                                        property or
                                                                        property or safety
                                                                                    safety of X, its
                                                                                           of X. its users
                                                                                                     users and the public.
                                                                                                           and the public. We
                                                                                                                           We do
                                                                                                                              do not
                                                                                                                                 not ddisclose personally-identifying information
                                                                                                                                       isclose personally-identifying              to third
                                                                                                                                                                      informat ion to       parties
                                                                                                                                                                                      third parties
                                                                        except
                                                                        except in accOfdance with
                                                                               in accordance with our
                                                                                                  our Privacy
                                                                                                      Privacy Policy
                                                                                                              Policy..




                                                                                  Captured by FireShot Pro: 09 February 2024, 15:58:14
                                                                                                      httpsi / /getftreshot.com
                              Case 1:23-cv-05840-JPB Document 24-3 Filed 02/20/24 Page 4 of 8
P.:Jgc 3
X Term s of ServtCe
https:/ /twitter.com/en/tos



                                                Certain  seivices or
                                                Certain services   or features
                                                                      features may
                                                                               may be
                                                                                    be offered
                                                                                        offered on
                                                                                                 on X
                                                                                                    X for
                                                                                                       for which  additional terms
                                                                                                           which additional   terms and
                                                                                                                                    and conditions
                                                                                                                                         conditions may
                                                                                                                                                     may apply
                                                                                                                                                          apply in
                                                                                                                                                                 in connection  with
                                                                                                                                                                    connection with
                                                your  use of
                                                your use  of those
                                                             those services.
                                                                    services. By
                                                                               By using
                                                                                  using or
                                                                                         or paying
                                                                                            paying for
                                                                                                    for any
                                                                                                         any of
                                                                                                             of these addit ional seivices,
                                                                                                                these additional  services, you
                                                                                                                                            you agree
                                                                                                                                                 agree to
                                                                                                                                                       to any
                                                                                                                                                          any additional  terms
                                                                                                                                                               additional terms
                                                applicable to those
                                                applicable to those services,
                                                                    services. and
                                                                              and those
                                                                                  those additional
                                                                                        additional terms
                                                                                                   terms become
                                                                                                         become part
                                                                                                                part of
                                                                                                                     of our
                                                                                                                        our agreement
                                                                                                                            agreement with
                                                                                                                                      with you.
                                                                                                                                           you. If any of the applicable
                                                                                                                                                If any of the applicable
                                                additional terms conflict
                                                additional terms conflict with these Terms,
                                                                          with these Terms, the
                                                                                            the additional
                                                                                                additional terms
                                                                                                           terms wi1l
                                                                                                                 will prevail
                                                                                                                      prevail while
                                                                                                                              while you
                                                                                                                                    you are
                                                                                                                                        are using those services
                                                                                                                                            using those services to which
                                                                                                                                                                 to which
                                                they apply.
                                                they apply.

                                                If you
                                                If you use paid features
                                                       use paid features ofof the Services, you
                                                                              the Services. you agree
                                                                                                agree to
                                                                                                      to the
                                                                                                         the applicable
                                                                                                             applicable Terms
                                                                                                                        Terms for
                                                                                                                              for Paid Services
                                                                                                                                  Paid Services
                                                (https://legal.x.com/purchaser-terrns.html).
                                                ( https://legal.x.com/purchaser-terms.html ).




                                                If you use developer features of the Services. including but not limited to X for Websites
                                                If you use developer features of the Services, including but not limited to X for Websites
                                                (https://developer.x .com/docs/twitter-for-websites), X Cards (https://developer.x .com/docs/twitter-for-
                                                ( https://developer.x.com/docs/twitter-for-websites ), X Cards ( https://developer.x.com/docs/twitter-for-

                                                websites/cards/overview/abouts-cards:.     Public API
                                                websites/cards/overview/abouts-cards ), Public    API {https://developer.x.com/docs),   or Sign in with X
                                                                                                      ( https://developer.x.com/docs ), or Sign in with X

                                                (https://developer.x.com/docs/authentication/guides/log-in-with-twitter),   you agree to our Developer Agreement
                                                ( https://developer.x.com/docs/authentication/guides/log-in-with-twitter ), you agree to our Developer Agreement

                                                (https://developer.x.com/developer-terms/agreement)   and Developer Policy {https://developer.x.com/developer-
                                                ( https://developer.x.com/developer-terms/agreement ) and Developer Policy ( https://developer.x.com/developer-

                                                terms/policy).
                                                terms/policy ). IfIf you
                                                                     you want
                                                                         want to
                                                                              to reproduce,
                                                                                 reproduce, modify,
                                                                                            modify, create derivative works,
                                                                                                    create derivative works, distribute,
                                                                                                                             distribute, sell,
                                                                                                                                         sell, transfer,
                                                                                                                                               transfer, publicly
                                                                                                                                                         publicly display,
                                                                                                                                                                  display,
                                                publicly
                                                publicly perform. transmit. or
                                                         perform, transmit, or otherwise
                                                                               otherwise use
                                                                                         use the
                                                                                             the Services
                                                                                                 Services or
                                                                                                          or Content on tthe
                                                                                                             Content on   he Services.
                                                                                                                             Services, you
                                                                                                                                       you must
                                                                                                                                           must use
                                                                                                                                                use the
                                                                                                                                                    the interfaces
                                                                                                                                                        interfaces and
                                                                                                                                                                   and
                                                instructions we provide,
                                                instructions we provide, except
                                                                         except as
                                                                                as permitted
                                                                                   permitted through the Services,
                                                                                             through the Services, these
                                                                                                                   these Terms.
                                                                                                                         Terms, or
                                                                                                                                or the
                                                                                                                                   the terms
                                                                                                                                       terms provided
                                                                                                                                             provided on
                                                                                                                                                      on
                                                https://developer.x.com/developer-temls.
                                                https://developer.x.com/developer-terms . Otherwise.
                                                                                          Otherwise, all
                                                                                                     all such
                                                                                                         such actions are strictly
                                                                                                              actions are          prohibited. IfIf you
                                                                                                                          strictly prohibited.      you are
                                                                                                                                                        are aa security
                                                                                                                                                               security
                                                researcher. you are
                                                researcher, you are required
                                                                    required to
                                                                             to comply
                                                                                comply with
                                                                                       with the
                                                                                            the rules
                                                                                                rules of
                                                                                                      of our
                                                                                                         our Vulnerability
                                                                                                             Vulnerability Reporting Program (https://hackerone.com/x).
                                                                                                                           Reporting Program ( https://hackerone.com/x ).

                                                The
                                                The requirements set out
                                                    requirements set out in
                                                                         in the
                                                                            the preceding
                                                                                preceding paragraph
                                                                                          paragraph may
                                                                                                    may not
                                                                                                        not apply
                                                                                                            apply to
                                                                                                                  to those
                                                                                                                     those participating
                                                                                                                           participating inin our
                                                                                                                                              our Vulnerability
                                                                                                                                                  Vulnerability Reporting
                                                                                                                                                                Reporting
                                                Program.
                                                Program.

                                                If you use advertising features of the Seivices, you agree to our Master Services Agreement {https://ads.x.com/terms).
                                                If you use advertising features of the Services, you agree to our Master Services Agreement ( https://ads.x.com/terms ).




                                                Your Account
                                                Your Account

                                                 You may
                                                You   may need
                                                          need to
                                                               to create
                                                                  create an
                                                                          an account
                                                                              account toto use the Seivices.
                                                                                           use the Services. You
                                                                                                              You are
                                                                                                                  are responsible
                                                                                                                      responsible for
                                                                                                                                    for saf
                                                                                                                                        safeguarding  your account.
                                                                                                                                            eguarding your account, so  use aa
                                                                                                                                                                     so use
                                                sstrong password and
                                                  trong password  and limit  its use
                                                                       limit its use to
                                                                                     to this account. We
                                                                                        this account. We cannot
                                                                                                           cannot and
                                                                                                                   and will
                                                                                                                       will not be liable
                                                                                                                            not be        for any
                                                                                                                                   liable for any loss
                                                                                                                                                  loss or
                                                                                                                                                       or damage
                                                                                                                                                          damage arising
                                                                                                                                                                  arising from
                                                                                                                                                                          from
                                                your failure
                                                your failure to
                                                             to comply
                                                                comply with
                                                                       with the
                                                                            the above.
                                                                                above.


                                                You can
                                                You can control
                                                        control most
                                                                most communications from the
                                                                     communications from the Services.
                                                                                             Services. We
                                                                                                       We may
                                                                                                          may need to provid
                                                                                                              need to providee you
                                                                                                                               you with
                                                                                                                                   with certain
                                                                                                                                        certain communications.
                                                                                                                                                communications,
                                                such as
                                                such as service
                                                        service announcements
                                                                announcements and
                                                                              and administrative
                                                                                  administrative messages. These communications
                                                                                                 messages. These communications are considered part
                                                                                                                                are considered part of
                                                                                                                                                    of the
                                                                                                                                                       the
                                                Services and
                                                Seivices and your
                                                             your account,
                                                                  account. and
                                                                           and you
                                                                               you may not be
                                                                                   may not be able
                                                                                              able to opt-out from
                                                                                                   to opt-out from receiving them. IfIf you
                                                                                                                   receiving them.      you added
                                                                                                                                            added your
                                                                                                                                                  your phone
                                                                                                                                                       phone number
                                                                                                                                                             number to
                                                                                                                                                                    to
                                                your account
                                                your account and
                                                             and you
                                                                 you later
                                                                     later change
                                                                           change or
                                                                                  or deactivate that phone
                                                                                     deactivate that phone number.
                                                                                                           number, you
                                                                                                                   you must
                                                                                                                       must update
                                                                                                                            update your
                                                                                                                                   your account
                                                                                                                                        account information
                                                                                                                                                information to
                                                                                                                                                            to help
                                                                                                                                                               help
                                                prevent us
                                                prevent us from
                                                           from communicating
                                                                communicating with
                                                                              w ith anyone who acquires
                                                                                    anyone who acquires your
                                                                                                        your old
                                                                                                             old number.
                                                                                                                 number.



                                                Your License
                                                Your         to Use
                                                     License to     the Services
                                                                Use the Services

                                                We give
                                                We        you aa personal,
                                                    g ive you    per6011al. worldwide,
                                                                            worldwide. royalty-free,  non-assignable and
                                                                                        royalty-free. non-assignable and non-exclusive
                                                                                                                          non-exclusive license
                                                                                                                                         license to
                                                                                                                                                 to use
                                                                                                                                                    use the
                                                                                                                                                        the software
                                                                                                                                                            software provided
                                                                                                                                                                       provided
                                                to you
                                                to you as
                                                        as part
                                                           part of  the Services.
                                                                 of the Services. This
                                                                                  This license
                                                                                       license has  the sole
                                                                                               has the  sole purpose
                                                                                                             purpose of
                                                                                                                     of enabling
                                                                                                                        enabling you
                                                                                                                                 you to
                                                                                                                                      to use and enjoy
                                                                                                                                         use and  enjoy the
                                                                                                                                                        the benefit
                                                                                                                                                            benefit of
                                                                                                                                                                    of the
                                                                                                                                                                        the
                                                Services as
                                                Services as provided
                                                            provided on
                                                                     on X, in the
                                                                        X. in the manner permitted by
                                                                                  mannsr permitted by tthese Terms.
                                                                                                        hese Terms.


                                                The Services
                                                The Services are
                                                             are protected
                                                                 protected by
                                                                           by copyright, trademark, and
                                                                              copyright. trademark. and other
                                                                                                        other laws of both
                                                                                                              laws of both tthe United States
                                                                                                                             he United States and
                                                                                                                                              and other
                                                                                                                                                  other countries.
                                                                                                                                                        countries.
                                                Nothing in
                                                Nothing   in the
                                                             the Terms
                                                                 Terms gives
                                                                        gives you  a right
                                                                               you a right to
                                                                                            t::> use the X
                                                                                                 use the  X name
                                                                                                            name or or any
                                                                                                                       any of
                                                                                                                            of the
                                                                                                                                the XX trademarks.
                                                                                                                                       trademarks, logos.
                                                                                                                                                      logos, domain
                                                                                                                                                             domain names,    other
                                                                                                                                                                      names. other
                                                distinctive brand
                                                distinctive  brand features,
                                                                    features. and
                                                                              and other
                                                                                  other proprietary      rights. All
                                                                                          proprietary rights.        right, title.
                                                                                                                 All right.        and interest
                                                                                                                            title, and  interest in and to
                                                                                                                                                 in and  to the
                                                                                                                                                            the Services (excluding
                                                                                                                                                                Services (excluding
                                                Content provided
                                                Content provided by
                                                                 by users)
                                                                    users) are and will
                                                                           are and      remain our
                                                                                   will remain our and
                                                                                                   and our
                                                                                                       our licensors'
                                                                                                           licensors' exclusive
                                                                                                                      exclusive property.
                                                                                                                                property. Any
                                                                                                                                          Any ffeedback, comments, or
                                                                                                                                                eedback. comments. or
                                                suggestions you
                                                suggestions you may
                                                                may provide
                                                                    provide regarding  X, or
                                                                            regardinJ; X. or the
                                                                                             the Services
                                                                                                 Services is entirely voluntary
                                                                                                          is entirely voluntary and
                                                                                                                                and we
                                                                                                                                    we will be free
                                                                                                                                       will be free to
                                                                                                                                                    to use
                                                                                                                                                       use such
                                                                                                                                                           such feedback,
                                                                                                                                                                feedback.
                                                comments or
                                                comments or suggestions
                                                            suggestions as
                                                                        as we
                                                                           we see
                                                                              see fit and without
                                                                                  fit and without any
                                                                                                  any obligation
                                                                                                      obligation to
                                                                                                                 to you.
                                                                                                                    you.



                                                Misuse of the
                                                Misuse of     Services
                                                          the Services

                                                You  also agree
                                                You also  agree not  to misuse
                                                                 not to misuse the
                                                                                 the Services,
                                                                                     Services. for
                                                                                                for example.
                                                                                                     example, by
                                                                                                               by interlering
                                                                                                                   interfering with
                                                                                                                               with them
                                                                                                                                     them or
                                                                                                                                           or accessing
                                                                                                                                               accessing them
                                                                                                                                                         them using
                                                                                                                                                               using aa method
                                                                                                                                                                        method
                                                other than the
                                                other than  the interface
                                                                interface and
                                                                          and the
                                                                               the instructions
                                                                                   instructions that
                                                                                                  that we
                                                                                                       we provide.
                                                                                                           provide. You
                                                                                                                     You agree
                                                                                                                          agree that
                                                                                                                                 that you
                                                                                                                                       you will not work
                                                                                                                                           will not work around  any technical
                                                                                                                                                         around any   technical
                                                limitations
                                                limitations inin the
                                                                 the software
                                                                     software provided
                                                                               provided ttoo you
                                                                                             you asas part
                                                                                                      part of
                                                                                                           of the
                                                                                                              the Services.
                                                                                                                   Services, or
                                                                                                                              or reverse
                                                                                                                                 reverse engineer.
                                                                                                                                         engineer, decompile
                                                                                                                                                   decompile oorr disassemble
                                                                                                                                                                  disassemble thethe
                                                software,
                                                software, except
                                                           except andand only
                                                                          only to
                                                                               to the
                                                                                  the extent
                                                                                      extent that
                                                                                               that applicable
                                                                                                     applicable law
                                                                                                                 law expressly
                                                                                                                      expressly permits.
                                                                                                                                 permits. You
                                                                                                                                          You may
                                                                                                                                               may not
                                                                                                                                                   not do any of
                                                                                                                                                       do any  of the  following while
                                                                                                                                                                   the following  while
                                                accessing or using
                                                accessing or using the Seivices: (i)
                                                                   the Services:     access. tamper
                                                                                 (0 access,  tamper with.
                                                                                                    with, or
                                                                                                          or use
                                                                                                             use non-public
                                                                                                                 non-public areas
                                                                                                                            areas of
                                                                                                                                  of the Services, our
                                                                                                                                     the Services, our computer
                                                                                                                                                       computer systems.
                                                                                                                                                                systems,
                                                or the
                                                or the technical
                                                       technical delivery
                                                                 delivery systems of our
                                                                          systems of     providers; M
                                                                                     our providers;      probe, scan,
                                                                                                    (ii) probe,       or test
                                                                                                                scan, or test the
                                                                                                                              the vulnerability
                                                                                                                                  vulnerability of
                                                                                                                                                of any
                                                                                                                                                   any system
                                                                                                                                                       system or
                                                                                                                                                              or network or
                                                                                                                                                                 network or
                                                breach or
                                                breach or circumvent
                                                          circumvent any
                                                                     any security
                                                                         security or
                                                                                  or authentication measures; 0ii)
                                                                                     authentication measures:       access or
                                                                                                              (iii) access or search
                                                                                                                              search or
                                                                                                                                     or attempt
                                                                                                                                        attempt to
                                                                                                                                                to access
                                                                                                                                                   access or
                                                                                                                                                          or search
                                                                                                                                                             search the
                                                                                                                                                                    the
                                                Services by
                                                Services by any
                                                            any means
                                                                means (automated or otherwise)
                                                                      (automated or otherwise) other than through
                                                                                               other than through our
                                                                                                                  our currently
                                                                                                                      currently available,
                                                                                                                                available, published interfaces tthat
                                                                                                                                           published interfaces   hat are
                                                                                                                                                                      are
                                                provided by
                                                provided by us
                                                            us (and
                                                               (and only
                                                                    only pursuant
                                                                         pursuant to
                                                                                  to the applicable terms
                                                                                     the applicable terms and
                                                                                                          and conditions).
                                                                                                              conditions), unless
                                                                                                                           unless you
                                                                                                                                  you have
                                                                                                                                      have been specifically allowed
                                                                                                                                           been specifically allowed to
                                                                                                                                                                     to
                                                do so
                                                do     In aa separate
                                                    so in    separate agreement
                                                                      agreement withwith us
                                                                                         us (NOTE:   crawling or
                                                                                            (NOTE: crawling    or scraping
                                                                                                                  scraping the
                                                                                                                            the Services
                                                                                                                                Services inin any
                                                                                                                                               any form.
                                                                                                                                                    form, for
                                                                                                                                                           for any
                                                                                                                                                                any purpose
                                                                                                                                                                    purpose without
                                                                                                                                                                             without our
                                                                                                                                                                                      our
                                                prior written
                                                prior written consent
                                                               consent isis expressly
                                                                            expressly prohibited);
                                                                                      prohibited): (iv) forge any
                                                                                                   (iv) forge any TCP/IP
                                                                                                                   TCP/IP packet   header or
                                                                                                                           packet header     or any
                                                                                                                                                 any part
                                                                                                                                                      part of
                                                                                                                                                           of the
                                                                                                                                                               the header
                                                                                                                                                                   header information
                                                                                                                                                                           information
                                                in any
                                                in  any email
                                                        email oror posting,
                                                                   posting. or in any
                                                                            or in any way
                                                                                       way use    the Seivices
                                                                                             use the   Services to
                                                                                                                 to send
                                                                                                                    send altered.
                                                                                                                         altered, deceptive
                                                                                                                                  deceptive or
                                                                                                                                             or false
                                                                                                                                                 false source-identifying
                                                                                                                                                       source-identifying informat
                                                                                                                                                                          information;
                                                                                                                                                                                     ion;
                                                (v) engage in
                                                (v) engage    in any  conduct that
                                                                 any conduct   that violates
                                                                                    violates our
                                                                                              ::>ur Platform
                                                                                                    Platform Manipulation
                                                                                                              Manipulation and
                                                                                                                            and Spam    Policy or
                                                                                                                                 Spam Policy   or any
                                                                                                                                                   any other
                                                                                                                                                        other Rules
                                                                                                                                                              Rules and  Policies;; or
                                                                                                                                                                    and Policies    or
                                                (vi) interfere with,
                                                (vi) interfere with. or
                                                                     or disrupt,
                                                                        d isrupt. (or
                                                                                  (or attempt to do
                                                                                      attempt to do so).
                                                                                                    so), the
                                                                                                         the access
                                                                                                             access of
                                                                                                                    of any user, host
                                                                                                                       any user. host or
                                                                                                                                      or network.
                                                                                                                                         network, including.
                                                                                                                                                  including, without limitation,
                                                                                                                                                             without limitation,
                                                sending
                                                sending aa virus,
                                                           virus. overloading,
                                                                  overloading, flooding,
                                                                               flooding. spamming,
                                                                                         spamming, mail-bombing
                                                                                                   mail-bombing the
                                                                                                                the Services,
                                                                                                                    Services, or
                                                                                                                              or by
                                                                                                                                 by scripting
                                                                                                                                    scripting the
                                                                                                                                              the creat ion of
                                                                                                                                                  creation  of Content
                                                                                                                                                               Content inin
                                                such aa manner
                                                such    manner as
                                                               as to
                                                                  to interfere
                                                                     interfere with
                                                                               with or
                                                                                    or create an undue
                                                                                       create an undue burden
                                                                                                       burden on
                                                                                                              on the
                                                                                                                 the Services.
                                                                                                                     Services. ItIt isis also
                                                                                                                                         also aa violation
                                                                                                                                                 violation of
                                                                                                                                                           of these
                                                                                                                                                              these Terms
                                                                                                                                                                    Terms to
                                                                                                                                                                          to
                                                facilitate
                                                facilitate oror assist
                                                                assist others
                                                                       others in
                                                                              in violating
                                                                                 violating these
                                                                                           these Terms,
                                                                                                 Terms, including
                                                                                                        including by
                                                                                                                  by ddistributing
                                                                                                                        istributing products
                                                                                                                                    products or
                                                                                                                                             or services
                                                                                                                                                services that enable or
                                                                                                                                                         that enable or encourage
                                                                                                                                                                        encourage
                                                violation of these
                                                violation of these Terms.
                                                                   Terms.




                                                Ending
                                                Ending These
                                                       These Terms
                                                             Terms

                                                You may
                                                You may end your legal
                                                        end your legal agreement
                                                                       agreement with us at
                                                                                 with us at any
                                                                                            any lime
                                                                                                time by deactivating your
                                                                                                     by deactivating your accounts
                                                                                                                          accounts and
                                                                                                                                   and discontinuing
                                                                                                                                       discontinuing your use of
                                                                                                                                                     your use of the
                                                                                                                                                                 the
                                                Services. See https://help.x.com/managing-your-account/how-to-deactivate-x-account
                                                Services. See https://help.x.com/managing-your-account/how-to-deactivate-x-account for instructions on
                                                                                                                                   for instructions on how
                                                                                                                                                       how to
                                                                                                                                                           to
                                                deactivate your
                                                deactivate your account
                                                                account and
                                                                        and the
                                                                            the Privacy
                                                                                Privacy Policy for more
                                                                                        Policy for more information
                                                                                                        information on
                                                                                                                    on what
                                                                                                                       what happens
                                                                                                                            happens to
                                                                                                                                    to your
                                                                                                                                       your information.
                                                                                                                                            information.


                                                We may
                                                We may suspend
                                                       suspend or terminate your
                                                               or terminate your account or cease
                                                                                 acoount or cease providing
                                                                                                  providing you
                                                                                                            you with
                                                                                                                with all or ppart
                                                                                                                     all or        of the
                                                                                                                               art of the Services
                                                                                                                                          Services at
                                                                                                                                                   at any
                                                                                                                                                      any time
                                                                                                                                                          time if
                                                                                                                                                               if we
                                                                                                                                                                  we
                                                reasonably believe:
                                                reasonably          (i) you
                                                           believe: (i) you have
                                                                            have violated these Terms
                                                                                 violated these Terms or
                                                                                                      or our
                                                                                                         our Rules
                                                                                                             Rules and Policies., 00
                                                                                                                   and Policies        you create
                                                                                                                                  (ii) you create risk
                                                                                                                                                  risk or
                                                                                                                                                       or possible
                                                                                                                                                          possible legal
                                                                                                                                                                   legal
                                                exposure for
                                                exposure for us; (ii0 your
                                                             us: (iii) your account
                                                                            account should be removed
                                                                                    shoukj be removed due
                                                                                                      due to
                                                                                                          to unlawful
                                                                                                             unlawful conduct;
                                                                                                                      conduct; (iv) your account
                                                                                                                               0v) your          should be
                                                                                                                                         account should be removed
                                                                                                                                                           removed due
                                                                                                                                                                   due
                                                to prolonged
                                                to prolonged inactivity;
                                                             inactivity: or (v) our
                                                                         or (v) our provision  of tthe
                                                                                    prov is on of      Services to
                                                                                                    he Services to you
                                                                                                                   you isis no
                                                                                                                            no longe
                                                                                                                               longer r commercially
                                                                                                                                        commercially viable.
                                                                                                                                                     viable. We
                                                                                                                                                             We will
                                                                                                                                                                will make
                                                                                                                                                                     make
                                                reasonable efforts
                                                reasonable efforts to
                                                                   to notify
                                                                      notify you
                                                                             you by the email
                                                                                 by the       address associated
                                                                                        email address associated with
                                                                                                                 with your
                                                                                                                      your account
                                                                                                                           account or
                                                                                                                                   or the
                                                                                                                                      the next
                                                                                                                                          next time you attempt
                                                                                                                                               time you attempt to
                                                                                                                                                                to
                                                access your
                                                access your account,
                                                            account. depending
                                                                     d epending on
                                                                                on the circumstances. To
                                                                                   the circumstances. To the
                                                                                                         the extent
                                                                                                             extent permitted by law.
                                                                                                                    permitted by law, we
                                                                                                                                      we may
                                                                                                                                         may aalso  terminate your
                                                                                                                                                lso terminate your
                                                account or
                                                account or cease
                                                           cease providing
                                                                 providing you
                                                                           you with
                                                                               with all or part
                                                                                    all or      of the
                                                                                           part of the Services for any
                                                                                                       Services for any ot
                                                                                                                        other  reason or
                                                                                                                           her reason or no reason at
                                                                                                                                         no reason at our
                                                                                                                                                      our convenience.
                                                                                                                                                          convenience. InIn
                                                all such cases,
                                                all such cases. the Terms shall
                                                                the Terms shall terminate, including, without
                                                                                terminate. including. without limitation, your license
                                                                                                              limitation. your         to use
                                                                                                                               license to use the
                                                                                                                                              the Services.
                                                                                                                                                  Services, except
                                                                                                                                                            except that the
                                                                                                                                                                   that the
                                                following  sections shall
                                                following sections  shall continue
                                                                          continue to  apply: 2,
                                                                                    to apply:  2, 3,
                                                                                                  3, 5,
                                                                                                     5, 6,
                                                                                                        6, and
                                                                                                           and the
                                                                                                               the misuse     provisions of
                                                                                                                      misuse provisions  of Section
                                                                                                                                            Section 44 (uMisuse
                                                                                                                                                       (“Misuse of  the Services").
                                                                                                                                                                 of the  Services”). lfIf
                                                you believe
                                                you  believe your
                                                             your account
                                                                   account was
                                                                            was tterminated
                                                                                  erminated in   error you
                                                                                              in error  you can
                                                                                                            can ffile  an appeal
                                                                                                                  ile an  appeal following
                                                                                                                                 following the
                                                                                                                                            the steps
                                                                                                                                                steps found
                                                                                                                                                       found in our Help
                                                                                                                                                             in our  Help Center
                                                                                                                                                                           Center
                                                (https://help.x.com/forms/account- access/appeals). For the avoidance of doubt, t hese Terms survive the deactivation or
                                                ( https://help.x.com/forms/account-access/appeals ). For the avoidance of doubt, these Terms survive the deactivation or

                                                ttermination
                                                  erm ination of
                                                              of your
                                                                 your account.
                                                                      account.




                                                5. Disclaimers
                                                5. Disclaimers and
                                                               and Limitations
                                                                   Limitations of
                                                                               of
                                                Liability
                                                Liability

                                                The Services
                                                The Services are
                                                             are Available
                                                                 Available "AS-IS"
                                                                           "AS-IS"

                                                        Ca pt ured by FireShot Pro: 09 February 2024, 15 :58:14
                                                                             httpsi / /getftreshot.com
                              Case 1:23-cv-05840-JPB Document 24-3 Filed 02/20/24 Page 5 of 8
P.:Jgc 4
X Terms of ServtCe
https:/ /twitter.com/en/tos




                                                                       Your access
                                                                       Your access to
                                                                                   to and
                                                                                      and use
                                                                                          use of
                                                                                              o f tthe
                                                                                                    he Services or any
                                                                                                       Services or any Content
                                                                                                                       Content are
                                                                                                                               are at
                                                                                                                                   at your
                                                                                                                                      your own
                                                                                                                                           own risk. You understand
                                                                                                                                               risk. You understand and
                                                                                                                                                                    and agree
                                                                                                                                                                        agree tthat
                                                                                                                                                                                hat the  Services
                                                                                                                                                                                    t he Services
                                                                       aare
                                                                          re provided
                                                                             provided to
                                                                                      to you
                                                                                         you on
                                                                                             on an
                                                                                                an “AS
                                                                                                   MAS IS”
                                                                                                       IS" and
                                                                                                           and “AS   AVAILABLE” basis.
                                                                                                               ';A S AVAILABLE"        The MX
                                                                                                                                basis. The “X Entities"
                                                                                                                                              Entities” refers
                                                                                                                                                        refers to
                                                                                                                                                               to X
                                                                                                                                                                  X Corp
                                                                                                                                                                    Corp.,.. its parents,s. affiliates,
                                                                                                                                                                             its parent     affiliates.
                                                                       related companies,
                                                                       related companies. officers,
                                                                                          officers. directors,
                                                                                                    directors. employees, agents, representatives,
                                                                                                               employees. agents. representatives, partners,
                                                                                                                                                   partners, and licensors. Without
                                                                                                                                                             and licensors.           limiting
                                                                                                                                                                            W it hout lim it ing the
                                                                                                                                                                                                 t he
                                                                       fforegoing,
                                                                         oregoing, to
                                                                                   to the
                                                                                      t he maximum
                                                                                           maximum extent
                                                                                                   extent permitted under applicable
                                                                                                          permitted undeJ applicable law.
                                                                                                                                     law, THE
                                                                                                                                          THE XX ENTITIES
                                                                                                                                                 ENTITIES DISCLAIM
                                                                                                                                                          DISCLAIM AALL WARRANTIES AND
                                                                                                                                                                     LL WARRANTIES AND
                                                                       CONDITIONS, WHETHER
                                                                       CONDITIONS. WHETHER EXPRESS
                                                                                           EXPRESS OR
                                                                                                   OR IMPLIED, OF MERCHANTABILITY.
                                                                                                      IMPLIED, OF MERCHANTABILITY, FITNESS
                                                                                                                                   FITNESS FOR A PARTICULAR
                                                                                                                                           FOR A            PURPOSE,
                                                                                                                                                 PARTICULAR PURPOSE.
                                                                       OR NON-INFRINGEMENT.
                                                                       OR NON-INFRINGEMENT. The
                                                                                            The XX Entities  make
                                                                                                   Entit ies m ake no warranty or
                                                                                                                   no warranty or representation and ddisclaim
                                                                                                                                  representation and   isclaim all responsibility and
                                                                                                                                                               all responsibility and liability
                                                                                                                                                                                      liability
                                                                       ffor: (i) the
                                                                         or: (i) the completeness,
                                                                                     completeness. accuracy, availability, ttimeliness,
                                                                                                   accuracy. availability,              security oorr reliability
                                                                                                                             imeliness. security      reliability of
                                                                                                                                                                  of the
                                                                                                                                                                     the Services
                                                                                                                                                                         Services or
                                                                                                                                                                                  or any Content; (ii)
                                                                                                                                                                                     any Content:      any
                                                                                                                                                                                                  (ii) any

                                                                       harm to
                                                                       harm     your computer
                                                                            t o your computer system,
                                                                                              system. loss
                                                                                                      loss of data, or
                                                                                                           of data, or other
                                                                                                                       other harm that results
                                                                                                                             harm that         from your
                                                                                                                                       results from your access
                                                                                                                                                         access to
                                                                                                                                                                to oorr use of the
                                                                                                                                                                        use of the Services
                                                                                                                                                                                   Services or
                                                                                                                                                                                            or any
                                                                                                                                                                                               any
                                                                       Content; (iii)
                                                                       Content:       the deletion
                                                                                (iiij the delet ion of,
                                                                                                    of. or
                                                                                                        or the
                                                                                                           the failure
                                                                                                               failure ttoo store
                                                                                                                            store or
                                                                                                                                  or to
                                                                                                                                     to transmit, any Content
                                                                                                                                        transmit. any Content and
                                                                                                                                                              and ot
                                                                                                                                                                  other  communications
                                                                                                                                                                     her commun           maintained
                                                                                                                                                                                 ications m aintained by
                                                                                                                                                                                                      by
                                                                       tthe
                                                                         he Services;
                                                                            Services; and (iv) whether
                                                                                      and (iv) whether tthe
                                                                                                         he Services will m
                                                                                                            Services will meet  your requirements
                                                                                                                            eet your requirements or
                                                                                                                                                  or be
                                                                                                                                                     be available
                                                                                                                                                        available on
                                                                                                                                                                  on an
                                                                                                                                                                     an uninterrupted, secure, or
                                                                                                                                                                        uninterrupted, secure, or
                                                                       eerror-free  basis. No
                                                                         rror-f ree basis. No advice
                                                                                              advice or
                                                                                                     or information,  whether oral
                                                                                                        inf ormation. whether oral or
                                                                                                                                   or w
                                                                                                                                      written,  obtained ffrom
                                                                                                                                        ritten. obtained   rom the X Ent
                                                                                                                                                               the X Entities
                                                                                                                                                                         ities or through the
                                                                                                                                                                               or through     Services,
                                                                                                                                                                                          the Services,
                                                                       will create
                                                                       will create any
                                                                                   any warranty
                                                                                       warranty or
                                                                                                or representation not expressly
                                                                                                   representation not expressly made
                                                                                                                                made herein
                                                                                                                                     herein. .



                                                                       Limitation
                                                                       Limitation of
                                                                                  of Liability
                                                                                     Liability

                                                                       TO THE
                                                                       TO     MAXIMUM EXTENT
                                                                          THE MAXIMUM EXTENT PERMITTED BY APPLICABL
                                                                                             PERMITTED BY APPLICABLEE LAW,
                                                                                                                      LAW, THE
                                                                                                                           THE X
                                                                                                                               X ENTITIES SHALL NOT
                                                                                                                                 ENTITIES SHALL     BE LIABLE
                                                                                                                                                NOT BE LIABLE FOR
                                                                                                                                                              FOR ANY
                                                                                                                                                                  ANY
                                                                       INDIRECT, INCIDENTAL,
                                                                       INDIRECT. INCIDENTAL. SPECIAL,
                                                                                             SPECIAL. CONSEQUENTIAL  OR PUNITIVE
                                                                                                      CO\ISEOUENTIAL OR          DAMAGES, OR
                                                                                                                        PUNITIVE DAMAGES. OR ANY
                                                                                                                                             ANY LOSS
                                                                                                                                                 LOSS OF
                                                                                                                                                      OF PROFITS OR
                                                                                                                                                         PROFITS OR
                                                                       REVENUES, WHETHER
                                                                       REVENUES.         INCURRED DIRECTLY
                                                                                 WHETHER INCURRED          OR INDIRECTLY.
                                                                                                  DIRECTLY OR INDIRECTLY, OR
                                                                                                                          OR ANY
                                                                                                                             ANY LOSS
                                                                                                                                 LOSS OF
                                                                                                                                      OF DATA, USE, GOODWILL.
                                                                                                                                         DATA, USE. GOODWILL, OR
                                                                                                                                                              OR
                                                                       OTHER INTANGIBLE
                                                                       OTHER INTANGIBLE LOSSES,
                                                                                        LOSSES. RESULTING FROM (ij
                                                                                                RESULTING FROM     YOUR ACCESS
                                                                                                               (i) YOUR ACCESS TO
                                                                                                                               TO OR
                                                                                                                                  OR USE OF OR
                                                                                                                                     USE OF OR INABILITY TO ACCESS
                                                                                                                                               INABILITY TO ACCESS OR
                                                                                                                                                                   OR
                                                                       USE TTHE
                                                                       USE   HE SERVICES;      ANY CONDUCT
                                                                                          (ii) ANY
                                                                                SERVICES; (ii)             OR CONTENT
                                                                                                   CONDUCT OR CONTENT OF
                                                                                                                      OF ANY
                                                                                                                         ANY THIRD
                                                                                                                             THIRD PARTY ON THE
                                                                                                                                   PARTY ON THE SERVICES.
                                                                                                                                                SERVICES, INCLUDING
                                                                                                                                                          INCLUDING
                                                                       WITHOUT LIMITATION,
                                                                       WITHOUT LIMITATION. ANY
                                                                                           ANY DEFAMATORY, OFFENSIVE OR
                                                                                               DEFAMATORY. OFFENSIVE OR ILLEGAL CONDUCT OF
                                                                                                                        ILLEGAL CONDUCT OF OTHER
                                                                                                                                           OTHER USERS
                                                                                                                                                 USERS OR
                                                                                                                                                       OR THIRD
                                                                                                                                                          THIRD
                                                                       PARTIES; (iii)
                                                                       PARTIES: Qii) ANY
                                                                                      ANY CONTENT
                                                                                          CONTENT OBTAINED
                                                                                                  OBTAINED FROM THE SERVICES:
                                                                                                           FROM THE SERVICES; OR
                                                                                                                              OR (iv) UNAUTHORIZED ACCESS,
                                                                                                                                 (iv) UNAUTHORIZED ACCESS, USE
                                                                                                                                                           USE OR
                                                                                                                                                               OR
                                                                       ALTERATION OF
                                                                       ALTERATION OF YOUR
                                                                                     YOUR TRANSMISSIONS OR CONTENT.
                                                                                          TRANSMISSIONS OR CONTENT. IN
                                                                                                                    IN NO
                                                                                                                       NO EVENT SHALL TTHE
                                                                                                                          EVENT SHALL      AGGREGATE LIABILITY
                                                                                                                                        HE AGGREGATE           OF THE
                                                                                                                                                     LIABILITY OF THE XX
                                                                       ENTITIES
                                                                       ENT ITIES EXCEED
                                                                                 EXCEED THE
                                                                                        THE GREATER
                                                                                            GREATER OF
                                                                                                    OF ONE HUNDRED U.S.
                                                                                                       ONE HUNDRED       DOLLARS (U.S
                                                                                                                   U.S . DOLLARS (U.S. . $100.00)
                                                                                                                                         $100.00) OR
                                                                                                                                                  OR THE
                                                                                                                                                     THE AMOUNT
                                                                                                                                                         AMOUNT YOU PAIDID US,
                                                                                                                                                                YOU PA     US.
                                                                       IF ANY,
                                                                       IF      IN THE
                                                                          ANY. IN THE PAST
                                                                                      PAST SIX
                                                                                           SIX MONTHS
                                                                                               MONTHS FOR THE SERVICES
                                                                                                      FOR THE          GIVING RISE
                                                                                                              SERVICES GIVING RISE TO
                                                                                                                                   TO THE
                                                                                                                                      THE CLAIM.
                                                                                                                                          CLAIM. THE
                                                                                                                                                 THE LIMITATIONS
                                                                                                                                                     LIMITATIONS OF
                                                                                                                                                                 OF THIS
                                                                                                                                                                    THIS
                                                                       SUBSECTION SHALL
                                                                       SUBSECTION SHALL APPLY
                                                                                        APPLY TO
                                                                                              TO ANY THEORY
                                                                                                 ANY-H      OF LIABILITY,
                                                                                                       EORY OF            WHETHER BASED
                                                                                                               LIABILITY. WHETHER BASED ON
                                                                                                                                        ON WARRANTY.
                                                                                                                                           WARRANTY, CONTRACT.
                                                                                                                                                     CONTRACT,
                                                                       STATUTE, TORT
                                                                       STATUTE, TORT (INCLUDING
                                                                                     (INCLUDING NEGLIGENCE) OR OTI--lERWISE.
                                                                                                NEGLIGENCE) OR OTHERWISE, ANDAND WHETHER
                                                                                                                                 WHETHER OR
                                                                                                                                         OR NOT THE XX ENTITIES
                                                                                                                                            NOT THE    ENTITIES HAVE
                                                                                                                                                                HAVE BEEN
                                                                                                                                                                     BEEN
                                                                       INFORMED OF
                                                                       INFORMED OF THE
                                                                                   THE POSSIBILITY OF ANY
                                                                                       POSSIBILITY OF     SUCH DAMAGE,
                                                                                                      ANY SUCH         AND EVEN
                                                                                                               DAMAGE. AND EVEN IFIF A
                                                                                                                                     A REMEDY
                                                                                                                                       REMEDY SET
                                                                                                                                              SET FORTH
                                                                                                                                                  FORTH HEREIN
                                                                                                                                                        HEREIN IS
                                                                                                                                                               IS FOUND
                                                                                                                                                                  FOUND
                                                                       TO HAVE
                                                                       TO      FAILED OF
                                                                          HAVE FAILED    ITS ESSENTIAL
                                                                                      OF ITS ESSENTIAL PURPOSE.
                                                                                                       PURPOSE.




                                                                       6. General
                                                                       6. General
                                                                       We may revise
                                                                       We may revise these Terms ffrom
                                                                                     these Terms   rom time to ttime.
                                                                                                       time to   im e. The
                                                                                                                       The changes
                                                                                                                           changes will
                                                                                                                                   will not
                                                                                                                                        not be
                                                                                                                                            be retroactive.
                                                                                                                                               retroactive, and
                                                                                                                                                            and the
                                                                                                                                                                the most
                                                                                                                                                                    most current
                                                                                                                                                                         current version
                                                                                                                                                                                 version of the
                                                                                                                                                                                         of the
                                                                       TeJms. which will
                                                                       Terms, which will always
                                                                                         always be
                                                                                                be at
                                                                                                   at x.com/tos
                                                                                                      x.com/tos., w
                                                                                                                  willill govern
                                                                                                                          govern our relationship w
                                                                                                                                 our relationship   ith you.
                                                                                                                                                  with  you. We
                                                                                                                                                             We will
                                                                                                                                                                will try
                                                                                                                                                                     try to
                                                                                                                                                                         to notify
                                                                                                                                                                            notify you
                                                                                                                                                                                   you of
                                                                                                                                                                                       of m aterial
                                                                                                                                                                                          material
                                                                       revisions. for example
                                                                       revisions, for example via
                                                                                               via aa service
                                                                                                      service notification
                                                                                                               notification or
                                                                                                                            or an
                                                                                                                               an email  to the
                                                                                                                                  email to  the email
                                                                                                                                                 email associated
                                                                                                                                                       associated with
                                                                                                                                                                   with your
                                                                                                                                                                        your account.
                                                                                                                                                                             account. By
                                                                                                                                                                                       By continuing to
                                                                                                                                                                                          continuing to
                                                                       access
                                                                       access oror use the Services
                                                                                   use the Services after
                                                                                                      after those
                                                                                                            those revisions
                                                                                                                  revisions become
                                                                                                                              become effective.
                                                                                                                                       effective, you
                                                                                                                                                   you agree
                                                                                                                                                       agree to be bound
                                                                                                                                                             to be         by the
                                                                                                                                                                    bound by  the revised
                                                                                                                                                                                  revised Terms. To the
                                                                                                                                                                                          Terms. To the
                                                                       extent
                                                                       extent permitted by law,
                                                                              permitted by law, you
                                                                                                you also
                                                                                                    also waive
                                                                                                         waive the right to
                                                                                                               the right    participate as
                                                                                                                         to participate as aa plaintiff
                                                                                                                                              plaint iff or
                                                                                                                                                         or cclass
                                                                                                                                                               lass member
                                                                                                                                                                    member in
                                                                                                                                                                           in any
                                                                                                                                                                              any purported
                                                                                                                                                                                  purported class
                                                                                                                                                                                            class
                                                                       action. collective action
                                                                       action, collective action or
                                                                                                 or representative
                                                                                                    representative action proceeding.
                                                                                                                   action proceeding.

                                                                       The
                                                                       The laws o f the
                                                                           laws of  the State
                                                                                        Stat e of
                                                                                               of California,
                                                                                                  California. excluding
                                                                                                              exclJd ing its
                                                                                                                         its cho ice of
                                                                                                                             choice     law provisions.
                                                                                                                                     of law provisions, will
                                                                                                                                                        will govern
                                                                                                                                                             govern these
                                                                                                                                                                    these Terms
                                                                                                                                                                          Terms and
                                                                                                                                                                                and any
                                                                                                                                                                                    any dispute
                                                                                                                                                                                        dispute that
                                                                                                                                                                                                that
                                                                       aarises
                                                                         rises between
                                                                               between you and us.
                                                                                       you and us. All
                                                                                                   All disputes
                                                                                                       disputes related
                                                                                                                related to these Terms
                                                                                                                        to these Terms or the Services
                                                                                                                                       or the Services will
                                                                                                                                                       will be brought solely
                                                                                                                                                            be brought solely in the federal
                                                                                                                                                                              in the federal or
                                                                                                                                                                                             or
                                                                       sstate
                                                                         tate courts
                                                                              courts located
                                                                                     located in
                                                                                             in San
                                                                                                San Francisco
                                                                                                    Francisco County,
                                                                                                              County. California.
                                                                                                                      California, United States. and
                                                                                                                                  United States, and you
                                                                                                                                                     you consent
                                                                                                                                                         consent to personal jurisdiction
                                                                                                                                                                 to personal jurisdiction and
                                                                                                                                                                                          and
                                                                       waive any objection
                                                                       waive any objection as
                                                                                           as to
                                                                                              to inconvenient
                                                                                                 inconvenient forum.
                                                                                                              forum. To
                                                                                                                     To the
                                                                                                                        the extent permitted by
                                                                                                                            extent permitted by law.
                                                                                                                                                law, you
                                                                                                                                                     you aalso
                                                                                                                                                            lso waive
                                                                                                                                                                waive the
                                                                                                                                                                      the right
                                                                                                                                                                          right to
                                                                                                                                                                                to participate
                                                                                                                                                                                   participate as
                                                                                                                                                                                               as aa
                                                                       plaintiff or class
                                                                       plaintiff or class member
                                                                                          member in
                                                                                                 in any
                                                                                                    any purported
                                                                                                        p urported class
                                                                                                                   class action.
                                                                                                                         action, collective action or
                                                                                                                                 collective action or representative
                                                                                                                                                      represent ative action
                                                                                                                                                                      action proceeding.
                                                                                                                                                                             proceeding.

                                                                       If you are a federal. state. or local government entity in t he United States using the Servic es in your official capacity and
                                                                       If you are a federal, state, or local government entity in the United States using the Services in your official capacity and
                                                                       legally
                                                                       legally unable to accept
                                                                               unable to accept the
                                                                                                the controlling
                                                                                                    controlling law.
                                                                                                                law, jurisdic t io n or
                                                                                                                     jurisdiction    or venue
                                                                                                                                        venue cla uses above.
                                                                                                                                              clauses  above, then
                                                                                                                                                              then those clauses do
                                                                                                                                                                   those clauses do not
                                                                                                                                                                                    not apply to you.
                                                                                                                                                                                        apply to you.
                                                                       For such U.S.
                                                                       For such      federal government
                                                                                U.S. federal government entities,
                                                                                                        ent iti:1s. these
                                                                                                                    these Terms
                                                                                                                          Terms and
                                                                                                                                and any
                                                                                                                                    any action related tthereto
                                                                                                                                        action related   hereto will
                                                                                                                                                                will be
                                                                                                                                                                     be governed
                                                                                                                                                                        governed by the laws
                                                                                                                                                                                 by the laws ofof
                                                                       the United States
                                                                       the United States of
                                                                                         of America (without reference
                                                                                            America (without reference to conflict of
                                                                                                                       to conflict    laws) and.
                                                                                                                                   of laws) and, in
                                                                                                                                                 in tthe
                                                                                                                                                      he absence
                                                                                                                                                         absence of
                                                                                                                                                                 of federal law and
                                                                                                                                                                    federal law     to the
                                                                                                                                                                                and to the extent
                                                                                                                                                                                           extent
                                                                       permitted under federal
                                                                       permitted under federal law,
                                                                                               law, the
                                                                                                    the laws
                                                                                                        laws of
                                                                                                             of the
                                                                                                                the State
                                                                                                                    State of
                                                                                                                          of California
                                                                                                                             California (excluding
                                                                                                                                        (excluding choice
                                                                                                                                                   choice ofof law).
                                                                                                                                                               law).

                                                                       The
                                                                       The X  User Agreement
                                                                           X User  Agreement isis written
                                                                                                   written inin English
                                                                                                                English but
                                                                                                                        but is
                                                                                                                             is made
                                                                                                                                made available
                                                                                                                                       available in
                                                                                                                                                  in multiple
                                                                                                                                                     multiple languages
                                                                                                                                                              languages through
                                                                                                                                                                        through translations.
                                                                                                                                                                                 translations. XX strives to
                                                                                                                                                                                                  strives to
                                                                       make  the translations
                                                                       make the  translat ions as
                                                                                               as accurate
                                                                                                  accurate as  as possible
                                                                                                                  possib le to
                                                                                                                            to the
                                                                                                                               the original
                                                                                                                                   original English
                                                                                                                                             English version.
                                                                                                                                                      version. However.
                                                                                                                                                               However, in
                                                                                                                                                                        in case
                                                                                                                                                                           case of
                                                                                                                                                                                of any
                                                                                                                                                                                   any ddiscrepancies
                                                                                                                                                                                          iscrepancies oror
                                                                       inconsistencies. the English
                                                                       inconsistencies, the English language
                                                                                                    language version
                                                                                                             version of
                                                                                                                     of tthe
                                                                                                                          he X User Agreement
                                                                                                                             X User Agreement shall
                                                                                                                                              shall take
                                                                                                                                                    take precedence.
                                                                                                                                                         precedence. You
                                                                                                                                                                     You acknowledge t hat
                                                                                                                                                                         acknowledge that
                                                                       English shall be
                                                                       English shall    the language
                                                                                     be the la nguage of
                                                                                                      of reference
                                                                                                         reference for
                                                                                                                   for interpreting
                                                                                                                       interpreting and
                                                                                                                                    and constructing
                                                                                                                                        constructing the
                                                                                                                                                     the terms
                                                                                                                                                         terms of
                                                                                                                                                               of tthe
                                                                                                                                                                    he X
                                                                                                                                                                       X UseJ
                                                                                                                                                                         User Agreement.
                                                                                                                                                                              Agreement.

                                                                       In the
                                                                       In the event
                                                                              event that
                                                                                    that any
                                                                                         any provision
                                                                                             p rovision of
                                                                                                        of tthese Terms is
                                                                                                             hese Terms    held toto be
                                                                                                                        is held         invalid or
                                                                                                                                     be invalid or unenforceable.
                                                                                                                                                   unenforceable, then
                                                                                                                                                                  then tthat
                                                                                                                                                                         hat provision
                                                                                                                                                                             provision will be limited
                                                                                                                                                                                       will be limited oorr
                                                                       eeliminated
                                                                          liminated to
                                                                                    to the
                                                                                       the minimum
                                                                                            minimum extent
                                                                                                       extent necessary,  and tthe
                                                                                                              necessary. and        remaining pprovisions
                                                                                                                                he remaining    rovisions ofof these
                                                                                                                                                               these Terms
                                                                                                                                                                     Terms will
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                                                                                                                                                                                 remain in full force
                                                                                                                                                                                        in full       and
                                                                                                                                                                                                force and
                                                                        effect. Our
                                                                       effect.  Our failure
                                                                                    failure to
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                                                                                               enforce any
                                                                                                        any right
                                                                                                            right or provision of
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                                                                                                                                   these Terms
                                                                                                                                          Terms will  not be
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                                                                                                                                                                                    such right
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                                                                                                                                                                                                or provision.
                                                                                                                                                                                                   provision.

                                                                       If you have any quest ions about these -erms. please contact us.
                                                                       If you have any questions about these Terms, please contact us .



                                                                       Effective: September
                                                                       Effective:           29, 2023
                                                                                  September 29. 2023


                                                                       Archive of
                                                                       Archive of Previous
                                                                                  Previous Terms
                                                                                           Terms




                                                                       X Terms
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                                                                               of Service
                                                                       If you
                                                                       If y ou live
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                                                                                    in the
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                                                                                           Euro pean Union    EFTA States,
                                                                                                     Union, , EFTA States , or
                                                                                                                            o r the United Kingdom
                                                                                                                                the United Kingd om

                                                                       These Terms of
                                                                       These Terms of Service
                                                                                      Service (“Terms”)
                                                                                              (gTerms1 govern
                                                                                                        govern your
                                                                                                               your access
                                                                                                                    access to
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                                                                                                                              and use
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                                                                                                                                      of the
                                                                                                                                         the services.
                                                                                                                                             services, including
                                                                                                                                                       including our
                                                                                                                                                                 our various websites. SMS.
                                                                                                                                                                     various websites, SMS,
                                                                       APls. email notifications,
                                                                       APIs, email notifications. applications,
                                                                                                  applications. buttons,
                                                                                                                buttons. widgets,
                                                                                                                         widgets, ads.
                                                                                                                                  ads, commerce
                                                                                                                                       commerce services.
                                                                                                                                                services, and
                                                                                                                                                          and our
                                                                                                                                                              our other
                                                                                                                                                                  other covered
                                                                                                                                                                        covered services
                                                                                                                                                                                services
                                                                       (https://help.x.com/rules-and-policies/x-services-and-corporate-affiliates)
                                                                       ( https://help.x.com/rules-and-policies/x-services-and-corporate-affiliates)
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                                                                                                                                                                       Terms (collectively. the
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                                                                       "Services"). and any
                                                                       “Services”), and any information,
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                                                                                                                      graphics, photos.
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                                                                                                                      the Services
                                                                                                                          Services (collectively
                                                                                                                                   (collectively referred
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                                                                                                                                                          to as
                                                                                                                                                             as MContent"). By
                                                                                                                                                                “Content”). By using the
                                                                                                                                                                               using the
                                                                       Services you agree
                                                                       Services you agree to
                                                                                          to be
                                                                                             be bound
                                                                                                bound by
                                                                                                      by tthese
                                                                                                           hese Terms.
                                                                                                                Terms.

                                                                       These Terms are
                                                                       These Terms are an agreement between
                                                                                       an agreement between you
                                                                                                            you and
                                                                                                                and Twitter International Unlimited
                                                                                                                    Twitter International Unlimited Company
                                                                                                                                                    Company (Co.
                                                                                                                                                            (Co. number
                                                                                                                                                                 number 503351. VAT
                                                                                                                                                                        503351, VAT
                                                                       number
                                                                       number IE98031750), an Irish
                                                                              IE9803175Q), an Irish company,
                                                                                                    company, which provides X
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                                                                       Cumberland
                                                                       Cumberland Place. Fenian Street
                                                                                  Place, Fenian Street Dublin
                                                                                                       Dublin 2,
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                                                                       Unlimited Company.
                                                                       Unlimited Company.




                                   1....Wh.2..M.i!Y U;s )hg
                                   1. Who May Use

                                   2. Privacy
                                   2. Privacy
                                                        the SNYi9U
                                                            Services
                                                                       1. Who
                                                                       1. Who May
                                                                              May Use the Services
                                                                                  Use the Services
                                   3.
                                   3. Content on !he
                                      Content on the Services
                                                     Services

                                   4. Using the
                                   4. Using t he Ser vi ces
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P.:Jgc 5
X Term s of ServtCe
https:/ /twitter.com/en/tos




                                   5. Lim i tatio n s of
                                   5. Limitations        Liability
                                                      of Liability                                    and using
                                                                     If you
                                                                     If you are
                                                                            are accepting
                                                                                accepting these
                                                                                          these Terms
                                                                                                Terms and       the Services
                                                                                                          using the Services on
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                                                                                                                                behalf of
                                                                                                                                       of aa company.
                                                                                                                                             company, organization.
                                                                                                                                                      organization, government,
                                                                                                                                                                    government, or
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                                   6.
                                   6. G<!n cr al
                                      General                        legal entity,
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                                                                                                                                             Terms shall
                                                                                                                                                   shall refer
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                                                                                                                                                                  such entity.
                                                                                                                                                                       entity.




                                                                     2. Privacy
                                                                     2. Privacy
                                                                     Our Privacy
                                                                     Our         Policy ((https://www.x.com/privacy)
                                                                         Privacy Policy   https://www.x.com/privacy ) describes
                                                                                                                      describes how we handle
                                                                                                                                how we handle the information you
                                                                                                                                              the information you provide to us
                                                                                                                                                                  provide to us when you
                                                                                                                                                                                when you
                                                                     use the
                                                                     use the Services.
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                                                                                       You understand
                                                                                           understand that
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                                                                     and/or other
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                                                                                      countries for
                                                                                                for storage,
                                                                                                    storage. processing   and use
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                                                                                                                                   by us
                                                                                                                                       us and
                                                                                                                                          and our
                                                                                                                                               our affiliates.
                                                                                                                                                    affiliates.




                                                                     3. Content
                                                                     3. Content on the Services
                                                                                on the Services
                                                                     You are responsible
                                                                     You are             for your
                                                                             responsible for      use of
                                                                                             your use of the
                                                                                                         the Services
                                                                                                             Services and
                                                                                                                      and for
                                                                                                                          for any
                                                                                                                              any Content
                                                                                                                                  Content you provide, including
                                                                                                                                          you provide, including compliance with applicable
                                                                                                                                                                 compliance with applicable
                                                                     laws.
                                                                     laws, rules. and regulations.
                                                                           rules, and regulat ions. You
                                                                                                    You should
                                                                                                        should only
                                                                                                               only provide Content tthat
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                                                                                                                                          you are
                                                                                                                                              are comfortable
                                                                                                                                                  comfortable sharing
                                                                                                                                                              sharing with
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                                                                     Any use
                                                                     Any use or reliance on
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                                                                                                                                                                              Services is
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                                                                     your own risk.
                                                                     your own       We do
                                                                              risk. We do not
                                                                                          not endorse,
                                                                                              endorse. support,
                                                                                                       support, represent
                                                                                                                represent or
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                                                                     reliability ofof any
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                                                                     Services. You understand
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                                                                                              that by
                                                                                                   by using
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                                                                                                              he Services. you may
                                                                                                                 Services, you     be exposed
                                                                                                                               may be exposed to
                                                                                                                                              to Content
                                                                                                                                                 Content that
                                                                                                                                                         that might
                                                                                                                                                              might be
                                                                                                                                                                    be offensive.
                                                                                                                                                                       offensive, harmful.
                                                                                                                                                                                  harmful,
                                                                     inaccurate
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                                                                                 or otherwise     inappropriate. or
                                                                                     otherwise inappropriate,      or in some cases,
                                                                                                                      in some  cases, post  ings tthat
                                                                                                                                       postings    hat have
                                                                                                                                                        have been
                                                                                                                                                             been mislabeled
                                                                                                                                                                   mislabeled or
                                                                                                                                                                               or are
                                                                                                                                                                                  are otherwise
                                                                                                                                                                                      otherwise deceptive.
                                                                                                                                                                                                  deceptive.
                                                                     All Content is
                                                                     All Content     the sole
                                                                                  is the  sole responsibility
                                                                                                responsibility of
                                                                                                               of the
                                                                                                                   the person   who originated
                                                                                                                        person who               such Content.
                                                                                                                                     originated such    Content. We
                                                                                                                                                                 We may
                                                                                                                                                                      may not  monitor or
                                                                                                                                                                           not monitor  or control
                                                                                                                                                                                           control the
                                                                                                                                                                                                    the
                                                                     Content
                                                                     Content posted     via the
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                                                                                                           and, wewe cannot
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                                                                                                                                                        such Content.
                                                                                                                                                             Content.

                                                                     We reserve
                                                                     We reserve the
                                                                                the right
                                                                                    right to
                                                                                          to remove
                                                                                             remove Content that violates
                                                                                                    Content that violates the
                                                                                                                          the User Agreement, including
                                                                                                                              User Agreement. including for
                                                                                                                                                        for example.
                                                                                                                                                            example, copyright
                                                                                                                                                                     copyright or
                                                                                                                                                                               or trademark
                                                                                                                                                                                  trademark
                                                                     violations or
                                                                     violations or other
                                                                                   other intellectual
                                                                                         intellectual property
                                                                                                      property misappropriation, impersonation, unlawful
                                                                                                               misappropriation. impersonation. unlawful conduct.
                                                                                                                                                         conduct, or
                                                                                                                                                                  or harassment.
                                                                                                                                                                     harassment. Information
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                                                                     regarding specific
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                                                                                        policies and
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                                                                                                     the process for reporting
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                                                                                                                                  appealing violations
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                                                                                                                                                           be found
                                                                                                                                                              found in our Help
                                                                                                                                                                    in our      Center
                                                                                                                                                                           Help Center
                                                                     ( https://help.x.com/rules-and-policies/x-report-violation and https://help.x.com/managing-your-account/suspended-x-
                                                                     (https://help.x.com/rules-and-policies/)(-report-violation and https:/ /help.x.com/managing-your-account/suspended-x -
                                                                     accounts ).
                                                                     accounts).


                                                                     If you believe that your Content has been copied in a way that constitutes copyright infringement. please report this by
                                                                     If you believe that your Content has been copied in a way that constitutes copyright infringement, please report this by
                                                                     visiting our Copyright
                                                                     visiting our Copyright reporting
                                                                                             reporting form
                                                                                                       form ((https://help.x.com/forms/dmca)
                                                                                                              https://help.x.com/forms/dmca ) or contacting our
                                                                                                                                              or contacting our designated
                                                                                                                                                                designated copyright
                                                                                                                                                                           copyright agent at :
                                                                                                                                                                                     agent at:

                                                                     X Corp.
                                                                     X Corp.
                                                                     Attn: Copyright Agent
                                                                     Attn: Copyright Agent
                                                                     1355 Market Street,
                                                                     1355 Market Street. Suite
                                                                                         Suit e 900
                                                                                                900
                                                                     San
                                                                     San Francisco. CA 94103
                                                                         Francisco, CA 94103
                                                                     Reports:
                                                                     Reports: https://help .x.com/forms/dmca
                                                                              https://help.x.com/forms/dmca
                                                                     Email: copyright@x.com
                                                                     Email: copyright@x.com



                                                                     Your Rights
                                                                     Your Rights and
                                                                                 and Grant
                                                                                     Grant of
                                                                                           of Rights
                                                                                              Rights in the Content
                                                                                                     in the Content

                                                                     You retain
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                                                                                your rights
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                                                                                                   Content you submit, post
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                                                                                                                                                       the Services.
                                                                                                                                                           Services. What's
                                                                                                                                                                     What’s yours
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                                                                     you own
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                                                                         own your Content (and
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                                                                                               your incorporated audio, photos
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                                                                     By submitting,
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                                                                                                  d isplaying Content   on or
                                                                                                               Content on  or tthrough  the Services,
                                                                                                                                hrough the  Services, you
                                                                                                                                                      you grant
                                                                                                                                                          grant us
                                                                                                                                                                 us a worldwide, non-exclusive.
                                                                                                                                                                    a worldwide.  non-exclusive,
                                                                     royalty-free
                                                                     royalty-free license (with the
                                                                                  license (with       right to
                                                                                                 the right  to sublicense)
                                                                                                               sublicense) to
                                                                                                                           to use,
                                                                                                                              use, copy.
                                                                                                                                    copy, reproduce,  process. adapt,
                                                                                                                                           reproduce, process,  adapt, modify,
                                                                                                                                                                        modify, publish.
                                                                                                                                                                                publish, transmit,
                                                                                                                                                                                         transmit,
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                                                                                                                                                      translating). This
                                                                                                                                                                    This license  authorizes us
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                                                                     Content available
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                                                                     agree that
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                                                                                                                    us to provide. promote, and improve
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                                                                     broadcast, distribution,
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                                                                                          for such Content use.
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                                                                                                                          use of
                                                                                                                              of the
                                                                                                                                 the Services
                                                                                                                                     Services by
                                                                                                                                              by you
                                                                                                                                                 you is hereby agreed
                                                                                                                                                     is hereby agreed as
                                                                                                                                                                      as being
                                                                                                                                                                         being sufficient
                                                                                                                                                                               sufficient
                                                                     compensation for
                                                                     compensation for the
                                                                                      the Content
                                                                                          Content and grant of
                                                                                                  and grant of rights
                                                                                                               rights herein.
                                                                                                                      herein.

                                                                     We have
                                                                     We have an
                                                                             an evolving
                                                                                evolving set
                                                                                         set of
                                                                                             of rules for how
                                                                                                rules for     ecosystem partners
                                                                                                          how ecosystem          can interact
                                                                                                                        partners can interact with
                                                                                                                                              with your
                                                                                                                                                   your Content
                                                                                                                                                        Content on
                                                                                                                                                                on the
                                                                                                                                                                   the Services.
                                                                                                                                                                       Services. These
                                                                                                                                                                                 These rules
                                                                                                                                                                                       rules
                                                                     exist to
                                                                     exist      to enable  an open
                                                                                   enable an   open ecosystem
                                                                                                    ecosystem with    your rights
                                                                                                                 with your rights in mind. You
                                                                                                                                  in mind.  You understand
                                                                                                                                                 understand that  we may
                                                                                                                                                             that we may modify
                                                                                                                                                                         modify or
                                                                                                                                                                                or adapt
                                                                                                                                                                                   adapt your
                                                                                                                                                                                           your Content
                                                                                                                                                                                                Content
                                                                     as itit isis distributed,
                                                                     as           distributed. syndicated,
                                                                                                syndicated. published,  or broadcast
                                                                                                            published. or  broadcast byby us
                                                                                                                                          us and
                                                                                                                                              and our
                                                                                                                                                  our partners
                                                                                                                                                      partners and/or
                                                                                                                                                               and/or make
                                                                                                                                                                      make changes
                                                                                                                                                                            changes toto your Content inin
                                                                                                                                                                                         your Content
                                                                     order to
                                                                     order to adapt
                                                                              adapt the
                                                                                    the Content
                                                                                        Content to
                                                                                                to different
                                                                                                   different media.
                                                                                                             media.


                                                                     You represent
                                                                     You represent and
                                                                                   and warrant
                                                                                       warrant that
                                                                                               that you
                                                                                                    you have, or have
                                                                                                        have. or have obtained.
                                                                                                                      obtained, all rights, licenses,
                                                                                                                                all rights,           consents, permissions.
                                                                                                                                            licenses. consents, permissions, power
                                                                                                                                                                             power and/or
                                                                                                                                                                                   and/or
                                                                     authority necessary
                                                                     authority necessary to
                                                                                         to grant
                                                                                            Qrant the
                                                                                                  the rights
                                                                                                      riQhts granted herein for
                                                                                                             qranted herein for any
                                                                                                                                any Content
                                                                                                                                    Content that you submit.
                                                                                                                                            that you submit, post
                                                                                                                                                             post or
                                                                                                                                                                  or display
                                                                                                                                                                     display on
                                                                                                                                                                             on or
                                                                                                                                                                                or throUQh
                                                                                                                                                                                   through the
                                                                                                                                                                                           the
                                                                     Services. You
                                                                     Services. You agree
                                                                                   agree that
                                                                                         that such Content will
                                                                                              such Content      not contain
                                                                                                           will not contain material
                                                                                                                            material subject
                                                                                                                                     subject to
                                                                                                                                             to copyright or other
                                                                                                                                                copyright or other proprietary
                                                                                                                                                                   proprietary rights, unless
                                                                                                                                                                               rights. unless
                                                                     you have
                                                                     you have necessary
                                                                              necessary permission
                                                                                        permission or
                                                                                                   or are
                                                                                                      are otherwise legally entitled
                                                                                                          otherwise legally entitled to
                                                                                                                                     to post
                                                                                                                                        post the
                                                                                                                                             the material
                                                                                                                                                 material and
                                                                                                                                                          and to
                                                                                                                                                              to grant
                                                                                                                                                                 grant us
                                                                                                                                                                       us the
                                                                                                                                                                          the license
                                                                                                                                                                              license
                                                                     described above.
                                                                     described above.




                                                                     4. Using
                                                                     4. Using the
                                                                              the Services
                                                                                  Services
                                                                     Please
                                                                     Please review our Rules
                                                                            review our       and Policies
                                                                                       Rules and Policies., which
                                                                                                            v.hich are
                                                                                                                   are part
                                                                                                                       part of
                                                                                                                            of the
                                                                                                                               the User
                                                                                                                                   User Agreement
                                                                                                                                        Agreement and
                                                                                                                                                  and outline
                                                                                                                                                      outline conduct
                                                                                                                                                              conduct that
                                                                                                                                                                      that is
                                                                                                                                                                           is prohibited
                                                                                                                                                                              prohibited on the
                                                                                                                                                                                         on the
                                                                     Services. You may
                                                                     Services. You may use
                                                                                       use the
                                                                                           the Services
                                                                                               Services only
                                                                                                        only in
                                                                                                             in compliance
                                                                                                                compliance with
                                                                                                                           with these
                                                                                                                                these Terms
                                                                                                                                      Terms and
                                                                                                                                            and all applicable laws,
                                                                                                                                                all applicable laws. rules
                                                                                                                                                                     rules and
                                                                                                                                                                           and regulations.
                                                                                                                                                                               regulations. X
                                                                                                                                                                                            X
                                                                     takes  enforcement actions
                                                                     takes enforcement   actions when
                                                                                                 when Content
                                                                                                       Content or
                                                                                                               or user
                                                                                                                  user behavior
                                                                                                                       behavior is
                                                                                                                                is in
                                                                                                                                   in violation
                                                                                                                                      violation of
                                                                                                                                                of our  Rules and
                                                                                                                                                   our Rules  and Policies
                                                                                                                                                                   Policies or
                                                                                                                                                                            or in
                                                                                                                                                                                in relation to
                                                                                                                                                                                   relation to
                                                                     sensitive media. You
                                                                     sensitive media. You can
                                                                                          can review
                                                                                               review X’s
                                                                                                      X's enforcement
                                                                                                          enforcement options
                                                                                                                       options and
                                                                                                                               and how
                                                                                                                                    how you
                                                                                                                                          you can
                                                                                                                                               can appeal
                                                                                                                                                    appeal our
                                                                                                                                                           our enforcement
                                                                                                                                                                enforcement decision
                                                                                                                                                                               decision here.
                                                                                                                                                                                          here .

                                                                     The Services evolve
                                                                     The Services evolve constantly. As such,
                                                                                         constantly. As such, the
                                                                                                              the Services may change
                                                                                                                  Services may change from
                                                                                                                                      from time
                                                                                                                                           time to
                                                                                                                                                to time,
                                                                                                                                                   time, at
                                                                                                                                                         at our
                                                                                                                                                            our discretion. We may
                                                                                                                                                                discretion. We     stop
                                                                                                                                                                               may stop
                                                                     (permanently or temporarily)
                                                                     (permanently or temporarily) providing
                                                                                                  providing the
                                                                                                            the Services
                                                                                                                Services or
                                                                                                                         or any
                                                                                                                            any features
                                                                                                                                features within the Services
                                                                                                                                         within the Services to
                                                                                                                                                             to you
                                                                                                                                                                you or
                                                                                                                                                                    or to
                                                                                                                                                                       to users
                                                                                                                                                                          users generally. We
                                                                                                                                                                                generally. We
                                                                     aalso
                                                                       lso retain
                                                                           retain the
                                                                                  the right
                                                                                      right to
                                                                                            to create
                                                                                               create limits
                                                                                                      limits on
                                                                                                             on use
                                                                                                                t.se and
                                                                                                                     and storage
                                                                                                                         storage at
                                                                                                                                 at our sole d
                                                                                                                                    our sole   iscretion at
                                                                                                                                             discretion  at any
                                                                                                                                                            any time.
                                                                                                                                                                time. We may also
                                                                                                                                                                      We may      remove or
                                                                                                                                                                             also remove or refuse
                                                                                                                                                                                            refuse
                                                                     to distribute any
                                                                     to distribute any Content
                                                                                       Content on
                                                                                               on the
                                                                                                  the Services,
                                                                                                      Services. limit
                                                                                                                limit distribution
                                                                                                                      distribution or
                                                                                                                                   or visibility
                                                                                                                                      visibility of any Content
                                                                                                                                                 of any Content on
                                                                                                                                                                on the
                                                                                                                                                                   the service.
                                                                                                                                                                       service, suspend
                                                                                                                                                                                suspend or
                                                                                                                                                                                        or
                                                                     terminate users, and
                                                                     terminate users, and reclaim
                                                                                          reclaim usernames
                                                                                                  usemames ifif itit is
                                                                                                                     is appropriate,
                                                                                                                        appropriate, including
                                                                                                                                     including for
                                                                                                                                               for the
                                                                                                                                                   the following reasons: (i)
                                                                                                                                                       following reasons:     protecting the Services
                                                                                                                                                                          (i) protecting the Services
                                                                     or our users;
                                                                     or our users: (ii)
                                                                                   (iij compliance
                                                                                        compliance with
                                                                                                   with applicable
                                                                                                        applicable laws
                                                                                                                   laws or
                                                                                                                        or orders
                                                                                                                           orders from
                                                                                                                                  from competent
                                                                                                                                       competent authorities:
                                                                                                                                                 authorities; Oiij  breach of
                                                                                                                                                              (iii) breach of these
                                                                                                                                                                              these Terms
                                                                                                                                                                                    Terms or our
                                                                                                                                                                                          or our
                                                                     Rules and Policies
                                                                     Rules and Policies or
                                                                                        or third
                                                                                           third parties'
                                                                                                 parties' intellectual
                                                                                                          intellectual property
                                                                                                                       property or
                                                                                                                                or other
                                                                                                                                   other rights:
                                                                                                                                         rights; (iv)
                                                                                                                                                 (iv) ifif you
                                                                                                                                                           you or
                                                                                                                                                               or your
                                                                                                                                                                  your Content
                                                                                                                                                                       Content exposes
                                                                                                                                                                               exposes us.
                                                                                                                                                                                       us, other
                                                                                                                                                                                           other users
                                                                                                                                                                                                 users
                                                                     or any third
                                                                     or any third party
                                                                                  party to
                                                                                        to legal
                                                                                           legal or
                                                                                                 or regulatory
                                                                                                    regulatory risk;
                                                                                                               risk: and/or
                                                                                                                     and/or (v)
                                                                                                                            (v) your
                                                                                                                                your prolonged
                                                                                                                                     prolonged inactivity.
                                                                                                                                               inactivity.

                                                                     In consideration
                                                                     In               for our
                                                                        consideration for our granting
                                                                                              granting you
                                                                                                       you access to and
                                                                                                           access to and use
                                                                                                                         use ofof the
                                                                                                                                  the Sefvices.
                                                                                                                                      Services, you
                                                                                                                                                you agree
                                                                                                                                                    agree that
                                                                                                                                                          that we
                                                                                                                                                               we and
                                                                                                                                                                  and our
                                                                                                                                                                      our tthird-party providers
                                                                                                                                                                            hird-party providers
                                                                     and partners
                                                                     and partners may
                                                                                  may place
                                                                                      place advertising
                                                                                            advertising on
                                                                                                        on the Services or
                                                                                                           the Services or inin connection
                                                                                                                                connection with
                                                                                                                                           with the
                                                                                                                                                the display
                                                                                                                                                    display of
                                                                                                                                                            of Content
                                                                                                                                                               Content or
                                                                                                                                                                       or information
                                                                                                                                                                          information from
                                                                                                                                                                                      from the
                                                                                                                                                                                           the
                                                                     Services whether submitted
                                                                     Services whether submitted by
                                                                                                by you
                                                                                                   you or
                                                                                                       or others.
                                                                                                          others. We
                                                                                                                  We also
                                                                                                                     also reserve
                                                                                                                          reserve the
                                                                                                                                  the right
                                                                                                                                      right to
                                                                                                                                            to access,
                                                                                                                                               access, read, preserve, and
                                                                                                                                                       read, preserve, and disclose
                                                                                                                                                                           disclose any
                                                                                                                                                                                    any
                                                                     information as
                                                                     information as we
                                                                                    we reasonably
                                                                                       reasonably believe      necessary to
                                                                                                  believe isis necessary to 0)  satisfy
                                                                                                                            (i) sat      any applicable
                                                                                                                                    isfy any applicable law.
                                                                                                                                                        law, regulation.
                                                                                                                                                             regulation, legal
                                                                                                                                                                         legal process
                                                                                                                                                                               process or
                                                                                                                                                                                       or
                                                                     governmental request, (ii)
                                                                     governmental request, (iij enforce
                                                                                                enforce the
                                                                                                        the Terms,
                                                                                                            Terms, including
                                                                                                                   including investigation
                                                                                                                             investigation of
                                                                                                                                           of potential
                                                                                                                                              potential violations
                                                                                                                                                        violations hereof,
                                                                                                                                                                   hereof, (iiij detect, prevent, or
                                                                                                                                                                           (iii) detect, prevent, or

                                                                     otherwise address
                                                                     otherwise address fraud,
                                                                                       fraud. security
                                                                                              security or
                                                                                                       or technical issues, (iv)
                                                                                                          technical issues.      respond to
                                                                                                                            (iv) respond to user
                                                                                                                                            user support
                                                                                                                                                 support requests.
                                                                                                                                                         requests, oror (v) protect the
                                                                                                                                                                        (v) protect     rights,
                                                                                                                                                                                    the rights.
                                                                     property or safety
                                                                     property or safety of
                                                                                        of X, its users
                                                                                           X, its users and
                                                                                                        and the
                                                                                                            the public.
                                                                                                                public. We
                                                                                                                        We do
                                                                                                                           do not
                                                                                                                              not disclose
                                                                                                                                  disclose personally- identifying informat
                                                                                                                                           personally-identifying           ion to
                                                                                                                                                                   information     third parties
                                                                                                                                                                                to third parties
                                                                     except in
                                                                     except in accordance
                                                                               accordance with
                                                                                          with our
                                                                                               our Privacy
                                                                                                   Privacy Policy
                                                                                                           Policy..




                                                                               Captured by FireShot Pro: 09 February 2024, 15:58:14
                                                                                                  httpsi/ /getftreshot.com
                              Case 1:23-cv-05840-JPB Document 24-3 Filed 02/20/24 Page 7 of 8
P.:Jgc 6
X Terms of ServtCe
https:/ /twitter.com/en/tos




                                                Certain services
                                                Certain services or
                                                                 or features
                                                                    features may
                                                                             may be
                                                                                 be offered on X
                                                                                    offered on X for
                                                                                                 for which
                                                                                                     which additional  terms and
                                                                                                           addit ional terms and conditions
                                                                                                                                 conditions may
                                                                                                                                            may apply
                                                                                                                                                apply in connection with
                                                                                                                                                      in connection wit h
                                                your use of
                                                your use of those
                                                            those services.
                                                                  services. These additional terms
                                                                            These additional terms are accessible from
                                                                                                   are accessible from our
                                                                                                                       our sites
                                                                                                                           sites and
                                                                                                                                 and applications
                                                                                                                                     applications dedicated to these
                                                                                                                                                  dedicated to these
                                                services or features.
                                                services or features. By
                                                                      By using
                                                                         using or paying for
                                                                               or paying     any of
                                                                                         for any of these
                                                                                                    these addit ional services,
                                                                                                          additional  services, you
                                                                                                                                you will have to
                                                                                                                                    will have to agree
                                                                                                                                                 agree to
                                                                                                                                                       to any
                                                                                                                                                          any additional
                                                                                                                                                              additional
                                                terms applicable to
                                                terms applicable to those
                                                                    those services,
                                                                          services, and
                                                                                    and those
                                                                                        those additional
                                                                                              additional terms
                                                                                                         terms will
                                                                                                               will then
                                                                                                                    then also
                                                                                                                         also become
                                                                                                                              become part
                                                                                                                                     part of
                                                                                                                                          of our
                                                                                                                                             our agreement with you.
                                                                                                                                                 agreement with you . If
                                                                                                                                                                      If
                                                any of the
                                                any of the applicable
                                                           applicable additional
                                                                      additional terms conflict with
                                                                                 terms conflict with these
                                                                                                     these Terms, the additional
                                                                                                           Terms, the additional terms
                                                                                                                                 terms will prevail while
                                                                                                                                       will prevail while you
                                                                                                                                                          you are
                                                                                                                                                              are using
                                                                                                                                                                  using
                                                those services to
                                                those services    which they
                                                               to which they apply.
                                                                             apply.


                                                If you use paid features of the Services. you agree to the applicable Terms for Paid Services
                                                If you use paid features of the Services, you agree to the applicable Terms for Paid Services
                                                (https://legal.x.com/purchaser-terms.html).
                                                ( https://legal.x.com/purchaser-terms.html ).




                                                If you use d eveloper features of the Services. including but not limited to X for Websites
                                                If you use developer features of the Services, including but not limited to X for Websites
                                                (https://developer.x.com/docs/twitter-for-websites).   X Cards (https://developer.x.com/docs/tw itter-for-
                                                ( https://developer.x.com/docs/twitter-for-websites ), X Cards ( https://developer.x.com/docs/twitter-for-

                                                websites/cards/overview/   abouts-cards:,
                                                websites/cards/overview/abouts-cards        Public API {https://developer.x.com/docs). or Sign in with X
                                                                                         ), Public API ( https://developer.x.com/docs ), or Sign in with X
                                                (https://developer.x.com/docs/authentication/guides/log-in-w      ith-twitter), you agree to our Developer Agreement
                                                ( https://developer.x.com/docs/authentication/guides/log-in-with-twitter ), you agree to our Developer Agreement

                                                (https://developer.x.com/developer-terms/agreement)   and Developer Policy {https://developer.x.com/developer-
                                                ( https://developer.x.com/developer-terms/agreement ) and Developer Policy ( https://developer.x.com/developer-

                                                terms/policy).
                                                terms/policy ). IfH you
                                                                    you want
                                                                        want to
                                                                             to reproduce,
                                                                                reproduce, modify,
                                                                                           modify, create derivative works,
                                                                                                   create derivative works, distribute,
                                                                                                                            distribute, sell,
                                                                                                                                        sell, transfer,
                                                                                                                                              transfer, publicly
                                                                                                                                                        publicly display,
                                                                                                                                                                 display,
                                                publicly
                                                publicly pertorm. transmit. or
                                                         perform, transmit, or otherwise
                                                                               otherwise use
                                                                                         use the
                                                                                             the Services
                                                                                                 Services or
                                                                                                          or Content on tthe
                                                                                                             Content on   he Services.
                                                                                                                             Services, you
                                                                                                                                       you must
                                                                                                                                           must use
                                                                                                                                                use tthe
                                                                                                                                                      he interfaces
                                                                                                                                                         interfaces and
                                                                                                                                                                    and
                                                instructions we provide,
                                                instructions we provide, except
                                                                         except as
                                                                                as permitted
                                                                                   permitt ed through the Services,
                                                                                              through the Services, these
                                                                                                                    these Terms.
                                                                                                                          Terms, or
                                                                                                                                 or the
                                                                                                                                    the terms
                                                                                                                                        terms provided
                                                                                                                                              provided on
                                                                                                                                                       on
                                                https://developer.x.com/developer-terms.
                                                https://developer.x.com/developer-terms . Otherwise.
                                                                                          Otherwise, all
                                                                                                     all such
                                                                                                         such actions are strictly
                                                                                                              actions are          prohibited. IfIf you
                                                                                                                          strictly prohibited.      you are
                                                                                                                                                        are aa security
                                                                                                                                                               security
                                                researcher. you are
                                                researcher, you     required to
                                                                are required to comply
                                                                                comply with
                                                                                       with the
                                                                                            the rules
                                                                                                rules of
                                                                                                      of our
                                                                                                         our Vulnerability
                                                                                                             Vulnerability Reponing  Program (https://hackerone.com/x).
                                                                                                                           Reporting Program ( https://hackerone.com/x ).

                                                The
                                                The requirements set out
                                                    requirements set out in
                                                                         in the
                                                                            t he preceding
                                                                                 preceding paragraph
                                                                                           paragraph may
                                                                                                     may not
                                                                                                         not apply
                                                                                                             apply to
                                                                                                                   to those
                                                                                                                      those participating
                                                                                                                            participating inin our
                                                                                                                                               our Vulnerability
                                                                                                                                                   Vulnerability Reporting
                                                                                                                                                                 Reporting
                                                Program.
                                                Program.

                                                If you use advertising features of the Services. you agree 10 our Master Services Agreement (https://ads.x .com/terms).
                                                If you use advertising features of the Services, you agree to our Master Services Agreement ( https://ads.x.com/terms ).




                                                Your Account
                                                Your Account

                                                 You may
                                                You   may need
                                                          need to
                                                               to create
                                                                  create an
                                                                          an account
                                                                              account toto use   the Services.
                                                                                           1.1se the Services. You
                                                                                                                You are
                                                                                                                    are responsible
                                                                                                                        responsible for
                                                                                                                                      for safeguarding
                                                                                                                                          safeguarding your
                                                                                                                                                        your account,
                                                                                                                                                             account, so  use aa
                                                                                                                                                                       so use
                                                sstrong
                                                  trong password
                                                        password and
                                                                  and limit  its use
                                                                       limit its use to
                                                                                     to this  account. We
                                                                                        this account.   We cannot
                                                                                                             cannot and
                                                                                                                     and will
                                                                                                                         will not be liable
                                                                                                                              not be        for any
                                                                                                                                     liable for any loss
                                                                                                                                                    loss or
                                                                                                                                                         or damage
                                                                                                                                                            damage arising
                                                                                                                                                                    arising from
                                                                                                                                                                            from
                                                your failure
                                                your         to comply
                                                     failure 10 comply with
                                                                       with the
                                                                            the above.
                                                                                above.


                                                You can
                                                You can control
                                                        control most
                                                                most communications from the
                                                                     communications from the Services.
                                                                                             Services. We
                                                                                                       We may
                                                                                                          may need to provide
                                                                                                              need to provide you
                                                                                                                              you with
                                                                                                                                  with certain
                                                                                                                                       certain communications.
                                                                                                                                               communications,
                                                such as
                                                such as service
                                                        service announcements
                                                                announcements and
                                                                              and administrative
                                                                                  administrative messages. These communications
                                                                                                 messages. These communications are
                                                                                                                                are considered
                                                                                                                                    considered part
                                                                                                                                               part of
                                                                                                                                                    of the
                                                                                                                                                       the
                                                Services and
                                                Services and your
                                                             your account,
                                                                  account. and
                                                                           and you
                                                                               you may not be
                                                                                   may not be able
                                                                                              able to opt-out from
                                                                                                   to opt-out from receiving them. IfIf you
                                                                                                                   receiving them.      you added
                                                                                                                                            added your
                                                                                                                                                  your phone
                                                                                                                                                       phone number
                                                                                                                                                             number to
                                                                                                                                                                    to
                                                your account
                                                your account and
                                                             and you
                                                                 you later
                                                                     later change
                                                                           change or
                                                                                  or deactivate that phone
                                                                                     deactivate that phone number.
                                                                                                           number, you
                                                                                                                   you must
                                                                                                                       must update
                                                                                                                            update your
                                                                                                                                   your account
                                                                                                                                        account information
                                                                                                                                                information to
                                                                                                                                                            to help
                                                                                                                                                               help
                                                prevent us
                                                prevent us from
                                                           from communicating
                                                                communicating with
                                                                              w ith anyone who acquires
                                                                                    anyone who acquires your
                                                                                                        your old
                                                                                                             old number.
                                                                                                                 number.



                                                Your License
                                                Your         to Use
                                                     License to     the Services
                                                                Use the Services

                                                We  give you
                                                We give   you aa personal,
                                                                 personal. worldwide,
                                                                            worldwide. royalty-free,
                                                                                        royalty-free. non-assignable
                                                                                                      non-assignable and
                                                                                                                      and non-exclusive
                                                                                                                           non-exclusive license
                                                                                                                                          license to
                                                                                                                                                  to use
                                                                                                                                                     use the
                                                                                                                                                         the software
                                                                                                                                                             software provided
                                                                                                                                                                        provided
                                                to you as
                                                to you as part
                                                           part of
                                                                 of the Services. This
                                                                    the Services. This license
                                                                                       license has
                                                                                               has the
                                                                                                    the sole
                                                                                                        sole ppurpose
                                                                                                               urpose of
                                                                                                                      of enabling
                                                                                                                         enabling you
                                                                                                                                  you to  use and
                                                                                                                                       to use and enjoy
                                                                                                                                                   enjoy the
                                                                                                                                                         the benefit
                                                                                                                                                             benefit of
                                                                                                                                                                     of the
                                                                                                                                                                         the
                                                Services as provided
                                                Services as provided on
                                                                     on X,
                                                                        X. in
                                                                           in the
                                                                              the manner
                                                                                  mannsr permitted by tthese
                                                                                         permitted by   hese Terms.
                                                                                                             Terms.

                                                The Services are
                                                The Services are protected
                                                                 protected by
                                                                           by copyright,
                                                                              copyright. trademark.
                                                                                         trademark, and
                                                                                                    and other laws of
                                                                                                        other laws    both the
                                                                                                                   of both the United
                                                                                                                               United States
                                                                                                                                      States and
                                                                                                                                             and other
                                                                                                                                                 other countries.
                                                                                                                                                       countries.
                                                Nothing
                                                Nothing in   the Terms
                                                          in the Terms gives
                                                                        gives you
                                                                               you a right to
                                                                                   a right  t:::, use
                                                                                                  use tthe
                                                                                                        he XX name
                                                                                                              name oorr any
                                                                                                                         any of   the X
                                                                                                                              of the   X trademarks.
                                                                                                                                         trademarks, logos.
                                                                                                                                                        logos, domain    names. other
                                                                                                                                                                domain names,    other
                                                distinctive  brand features,
                                                distinctive brand   features. and
                                                                              and other
                                                                                  other proprietary
                                                                                          proprietary rights.
                                                                                                           rights. All
                                                                                                                   All right.
                                                                                                                       right, title.
                                                                                                                              title, and
                                                                                                                                     and interest
                                                                                                                                          interest in
                                                                                                                                                   in and
                                                                                                                                                      and to
                                                                                                                                                           to tthe
                                                                                                                                                                he Services
                                                                                                                                                                   Services (exclud ing
                                                                                                                                                                            (excluding
                                                Content
                                                Content provided by users)
                                                        provided by users) are
                                                                           are and will remain
                                                                               and will remain our
                                                                                               our and
                                                                                                   and our
                                                                                                       our licensors'
                                                                                                           licensors' exclusive
                                                                                                                      exclusive property.
                                                                                                                                property. Any
                                                                                                                                          Any feedback.
                                                                                                                                              feedback, comments. or
                                                                                                                                                        comments, or
                                                suggestions you may
                                                suggestions you may provide
                                                                    provide regarding
                                                                            regardini;; X,
                                                                                        X, or
                                                                                           or the Services is
                                                                                              the Services is entirely
                                                                                                              entirely voluntary
                                                                                                                       voluntary and
                                                                                                                                 and we will be
                                                                                                                                     we will be free
                                                                                                                                                free to
                                                                                                                                                     to use
                                                                                                                                                        use such feedback.
                                                                                                                                                            such feedback,
                                                comments or suggestions
                                                comments or suggestions as
                                                                        as we
                                                                           we see
                                                                              see fit
                                                                                  lit and
                                                                                      and without
                                                                                          without any
                                                                                                  any obligation
                                                                                                      obligation to
                                                                                                                 to you.
                                                                                                                    you.



                                                Misuse
                                                Misuse of
                                                       of the Services
                                                          the Services

                                                You    also agree
                                                 You also   agree not  to misuse
                                                                   not to misuse the
                                                                                  the Services,
                                                                                       Services. for
                                                                                                  for example.
                                                                                                       example, by
                                                                                                                 by interlering
                                                                                                                     interfering with
                                                                                                                                 with them
                                                                                                                                       them or
                                                                                                                                             or accessing
                                                                                                                                                 accessing them
                                                                                                                                                           them using
                                                                                                                                                                 using aa method
                                                                                                                                                                          method
                                                oother
                                                  ther than
                                                        than the
                                                              the interface
                                                                  interface and
                                                                            and the
                                                                                 the instructions
                                                                                     instructions that
                                                                                                    that we
                                                                                                         we provide.
                                                                                                             provide. You
                                                                                                                       You agree
                                                                                                                            agree that
                                                                                                                                   that you
                                                                                                                                         you will not work
                                                                                                                                             will not work around  any technical
                                                                                                                                                           around any   technical
                                                limitations
                                                limitations inin the
                                                                 the software
                                                                     software provided
                                                                               provided ttoo you
                                                                                             you asas part
                                                                                                      part of
                                                                                                           of the
                                                                                                              the Services.
                                                                                                                   Services, or
                                                                                                                              or reverse
                                                                                                                                 reverse engineer.
                                                                                                                                         engineer, decompile
                                                                                                                                                   decompile or
                                                                                                                                                              or disassemble
                                                                                                                                                                  disassemble thethe
                                                software.
                                                software, except
                                                           except andand only
                                                                          only to
                                                                               to the
                                                                                  the extent
                                                                                      extent that
                                                                                               that applicable
                                                                                                     applicable law
                                                                                                                 law expressly
                                                                                                                      expressly permits.
                                                                                                                                 permits. You
                                                                                                                                          You may
                                                                                                                                               may not
                                                                                                                                                   not do any of
                                                                                                                                                       do any  of the  following while
                                                                                                                                                                   the following  while
                                                accessing or
                                                accessing or using the Services:
                                                             using the           (0 access,
                                                                       Services: (i)         tamper wit
                                                                                     access. tamper with,h. or
                                                                                                            or use
                                                                                                               use non-public
                                                                                                                   non-public areas
                                                                                                                              areas of
                                                                                                                                    of the
                                                                                                                                       the Services, our computer
                                                                                                                                           Services, our computer systems.
                                                                                                                                                                  systems,
                                                or the
                                                or the technical
                                                       technical delivery
                                                                 delivery systems of our
                                                                          systems of     providers; M
                                                                                     our providers;      probe, scan,
                                                                                                    (ii) probe,       or test
                                                                                                                scan, or test the
                                                                                                                              the vulnerability
                                                                                                                                  vulnerability of
                                                                                                                                                of any
                                                                                                                                                   any system
                                                                                                                                                       system or
                                                                                                                                                              or network or
                                                                                                                                                                 network or
                                                breach or
                                                breach or circumvent
                                                          circumvent any
                                                                     any security
                                                                         security or
                                                                                  or authentication  measures; Oii)
                                                                                     alJlhentication measures:       access or
                                                                                                               (iii) access or search
                                                                                                                               search or
                                                                                                                                      or attempt
                                                                                                                                         attempt to
                                                                                                                                                 to access
                                                                                                                                                    access or
                                                                                                                                                           or search
                                                                                                                                                              search the
                                                                                                                                                                     the
                                                Services by
                                                Services by any
                                                            any means
                                                                means (automated or otherwise)
                                                                      (automated or otherwise) other
                                                                                               other tthan through our
                                                                                                       han through our currently
                                                                                                                       currently available,
                                                                                                                                 available, published interfaces tthat
                                                                                                                                            published interfaces   hat are
                                                                                                                                                                       are
                                                provided by
                                                provided by us
                                                            us (and
                                                               (and only
                                                                    only pursuant
                                                                         pursuant to
                                                                                  to the applicable terms
                                                                                     the applicable terms and
                                                                                                          and conditions).
                                                                                                              conditions), unless
                                                                                                                           unless you
                                                                                                                                  you have
                                                                                                                                      have been specifically allowed
                                                                                                                                           been specifically allowed to
                                                                                                                                                                     to
                                                do so
                                                do     in aa separate
                                                    so in    separate agreement
                                                                      agreement withwith us
                                                                                         us (NOTE:   crawling or
                                                                                            (NOTE: crawling    or scraping
                                                                                                                  scraping the
                                                                                                                            the Services
                                                                                                                                Services inin any
                                                                                                                                               any form.
                                                                                                                                                    form, for
                                                                                                                                                           for any
                                                                                                                                                                any purpose
                                                                                                                                                                    purpose without
                                                                                                                                                                             without our
                                                                                                                                                                                      our
                                                prior written
                                                prior written consent
                                                               consent isis expressly
                                                                            expressly prohibited);
                                                                                      prohibited): (iv) forge any
                                                                                                   (iv) forge any TCP/IP
                                                                                                                   TCP/IP packet   header or
                                                                                                                           packet header     or any
                                                                                                                                                 any part
                                                                                                                                                      part of
                                                                                                                                                           of the
                                                                                                                                                               the header
                                                                                                                                                                   header information
                                                                                                                                                                           information
                                                in any
                                                in any email
                                                       email or
                                                             or posting,
                                                                posting. or in any
                                                                         or in any way
                                                                                   way use the Services
                                                                                       use the Services to
                                                                                                        to send
                                                                                                           send altered.
                                                                                                                altered, deceptive
                                                                                                                         deceptive or
                                                                                                                                   or false
                                                                                                                                      false source-identifying
                                                                                                                                            source-identifying information;
                                                                                                                                                               information;
                                                (v) engage
                                                (v)  engage inin any
                                                                 any conduct
                                                                      conduct that
                                                                                that violates
                                                                                       violates our Platform M
                                                                                                our Platform  Manipulation   and Spam
                                                                                                                anipulation and   Spam Policy   or any
                                                                                                                                         Policy or any other
                                                                                                                                                       other Rules
                                                                                                                                                              Rules and
                                                                                                                                                                     and Policies    or
                                                                                                                                                                          Policies:; or
                                                (vi) interfere with,
                                                (vi) interfere  with. or
                                                                      or disrupt,
                                                                         d isrupt, (or
                                                                                   {or attempt   to do
                                                                                        attempt to  do so),
                                                                                                       so), the
                                                                                                            the access
                                                                                                                access of
                                                                                                                        of any  user, host
                                                                                                                           any user.  host or
                                                                                                                                           or network.
                                                                                                                                              network, includ
                                                                                                                                                        including,
                                                                                                                                                               ing. without limitation,
                                                                                                                                                                    without limitation.
                                                sending
                                                sending aa virus,
                                                           virus. overloading,
                                                                  overloading, flooding,
                                                                               flooding. spamming,
                                                                                         spamming, mail-bombing
                                                                                                   mail-bombing the
                                                                                                                the Services.
                                                                                                                    Services, or
                                                                                                                              or by
                                                                                                                                 by scripting
                                                                                                                                    scripting the
                                                                                                                                              the creat ion of
                                                                                                                                                  creation  of Content
                                                                                                                                                               Content inin
                                                such aa manner
                                                such      manner as  as to
                                                                        to interfere
                                                                           interfere with
                                                                                      with or
                                                                                            or create  an undue
                                                                                               create an  undue burden
                                                                                                                 burden on
                                                                                                                         on the
                                                                                                                             the Services.
                                                                                                                                 Services. ItIt isis also
                                                                                                                                                     also aa violation
                                                                                                                                                             violation of
                                                                                                                                                                        of these
                                                                                                                                                                           these Terms
                                                                                                                                                                                 Terms to
                                                                                                                                                                                       to
                                                facilitate
                                                facilitate oror assist
                                                                assist others
                                                                       others inin violating
                                                                                   violating these
                                                                                              these Terms,
                                                                                                     Terms, including
                                                                                                            including by
                                                                                                                      by distributing  products or
                                                                                                                          distributing products        or services
                                                                                                                                                          services that   enable or
                                                                                                                                                                    that enable  or encourage
                                                                                                                                                                                    encourage
                                                violation of these
                                                violation of these Terms.
                                                                   Terms.




                                                Ending
                                                Ending These
                                                       These Terms
                                                             Terms

                                                You may
                                                You may end your legal
                                                        end your legal agreement
                                                                       agreement with us at
                                                                                 with us at any
                                                                                            any lime
                                                                                                time by deactivating your
                                                                                                     by deactivating your accounts
                                                                                                                          accounts and
                                                                                                                                   and discontinuing
                                                                                                                                       discontinuing your use of
                                                                                                                                                     your use of the
                                                                                                                                                                 the
                                                Services. See https://help.x.com/managing-your-account/how-to-deactivate-x-account
                                                Services. See https://help.x.com/managing-your-account/how-to-d eactivate-x-account for instructions on
                                                                                                                                    for instructions on how
                                                                                                                                                        how to
                                                                                                                                                            to
                                                deactivate your
                                                deactivate your account
                                                                account and
                                                                        and the
                                                                            the Privacy
                                                                                Privacv Policy for more
                                                                                        Policy for more information
                                                                                                        information on
                                                                                                                    on what
                                                                                                                       what happens
                                                                                                                            happens to
                                                                                                                                    to your
                                                                                                                                       your information.
                                                                                                                                            information.


                                                We may
                                                We may suspend
                                                       suspend or
                                                               or terminate
                                                                  terminate your
                                                                            your account or cease
                                                                                 account or cease providing
                                                                                                  providing you
                                                                                                            you w
                                                                                                                with
                                                                                                                  ith all or part
                                                                                                                      all or part of
                                                                                                                                  of the
                                                                                                                                     the Services
                                                                                                                                         Services at
                                                                                                                                                  at any
                                                                                                                                                     any time
                                                                                                                                                         time if
                                                                                                                                                              if we
                                                                                                                                                                 we
                                                reasonably believe: (i)
                                                reasonably believe: (i) you
                                                                        you have
                                                                            have violated
                                                                                 violated these
                                                                                          these Terms
                                                                                                Terms or
                                                                                                      or our
                                                                                                         our Rules
                                                                                                             Rules and Policies:; 00
                                                                                                                   and Policies   (ii) you
                                                                                                                                       you creat
                                                                                                                                           createe risk
                                                                                                                                                   risk or possible legal
                                                                                                                                                        or possible legal
                                                exposure for
                                                exposure for us; (iiO your
                                                             us: (iii) your account
                                                                            account should be removed
                                                                                    should be removed due
                                                                                                      due to
                                                                                                          to unlawful
                                                                                                             unlawful conduct;
                                                                                                                      conduct; (iv) your account
                                                                                                                               Ov) your          should be
                                                                                                                                         account should be removed
                                                                                                                                                           removed due
                                                                                                                                                                   due
                                                to prolonged
                                                to prolonged inactivity;
                                                             inactivity: or (v) our
                                                                         or (v) our provision  of tthe
                                                                                    prov is on of      Services to
                                                                                                    he Services to you
                                                                                                                   you isis no
                                                                                                                            no longer
                                                                                                                               longer commercially
                                                                                                                                      commercially viable.
                                                                                                                                                   viable. We
                                                                                                                                                           We will
                                                                                                                                                              will make
                                                                                                                                                                   make
                                                reasonable efforts
                                                reasonable efforts to
                                                                   to notify
                                                                      notify you
                                                                             you by the email
                                                                                 by the       address associated
                                                                                        email address associated with
                                                                                                                 with your
                                                                                                                      your account
                                                                                                                           account or
                                                                                                                                   or the
                                                                                                                                      the next
                                                                                                                                          next time you attem
                                                                                                                                               time you attemptpt to
                                                                                                                                                                  to
                                                access your
                                                access your account,
                                                            account. depending
                                                                     depending on
                                                                               on the circumstances. In
                                                                                  the circumstances. In all
                                                                                                        all such cases, the
                                                                                                            such cases. the Terms
                                                                                                                            Terms shall
                                                                                                                                  shall terminate.
                                                                                                                                        terminate, including.
                                                                                                                                                   including, without
                                                                                                                                                              without
                                                limitation, your
                                                limitation. your license
                                                                 license to
                                                                         to use
                                                                            use the
                                                                                the Services, except that
                                                                                    Services. except that the
                                                                                                          the following
                                                                                                              following sections
                                                                                                                        sections shall
                                                                                                                                 shall continue
                                                                                                                                       continue to
                                                                                                                                                to apply:
                                                                                                                                                   apply: 2,2. 3.
                                                                                                                                                               3, 5.
                                                                                                                                                                  5, 6.
                                                                                                                                                                     6, and
                                                                                                                                                                        and the
                                                                                                                                                                            the
                                                misuse provisions of
                                                misuse provisions of Section
                                                                     Section 44 (“Misuse
                                                                                (~Misuse of
                                                                                         of the
                                                                                            the Services").
                                                                                                Services”). IfIf you
                                                                                                                 you believe
                                                                                                                     believe your
                                                                                                                             your account
                                                                                                                                  account was
                                                                                                                                          was terminated
                                                                                                                                              terminated in
                                                                                                                                                         in error you can
                                                                                                                                                            error you can
                                                ffile
                                                  ile an
                                                      an appeal
                                                         appeal following
                                                                following the
                                                                          the steps
                                                                              step s found
                                                                                     found in
                                                                                           in our Help Center
                                                                                              our Help Center (https://help .x.com/forms/acc ount -access/appeals). For the
                                                                                                              ( https://help.x.com/forms/account-access/appeals ). For the

                                                avoidance of
                                                avoidance o f doubt,
                                                              doubt. these
                                                                     these Terms
                                                                           Terms survive
                                                                                 survive tthe deactivation
                                                                                           he d             or termination
                                                                                                eactivation or termination of
                                                                                                                           of your
                                                                                                                              your account
                                                                                                                                   account. .




                                                5. Limitations
                                                5. Limitations of
                                                               of Liability
                                                                  Liability
                                                By
                                                By using the Services
                                                   using the Services you
                                                                      you agree
                                                                          agree that
                                                                                that XX Corp
                                                                                        Corp.,.. its
                                                                                                 its parents.
                                                                                                     parents, affiliates.
                                                                                                              affiliates, related
                                                                                                                          related companies.
                                                                                                                                  companies, officers.
                                                                                                                                             officers, directors,
                                                                                                                                                       directors, employees,
                                                                                                                                                                  employees,
                                                agents representatives.
                                                agents representatives, partners
                                                                        partners and
                                                                                 and licensors,
                                                                                     licensors. liability is limited
                                                                                                liability is         to the
                                                                                                             limited to the maximum extent permissible
                                                                                                                            maximum extent permissible in your count
                                                                                                                                                       in your countryry of
                                                                                                                                                                         of
                                                residence
                                                residence.




                                                         Captured by FireShot Pro: 09 February 2024, 15 :58:14
                                                                              httpsi/ /getftreshot.com
                              Case 1:23-cv-05840-JPB Document 24-3 Filed 02/20/24 Page 8 of 8
P.:Jgc 7
X Terms of ServtCe
https:/ /twitter.com/en/tos




                                                                     6. General
                                                                     6. General
                                                                     We may
                                                                     We     revise ttiese
                                                                        may revise these Terms  from time
                                                                                          Terms from time to
                                                                                                          to ttime.  The ctianges
                                                                                                               im e. The changes w        not be
                                                                                                                                  willil1 not be retroactive,
                                                                                                                                                 retroactive, and
                                                                                                                                                              and tthe  most current
                                                                                                                                                                    tie most current version
                                                                                                                                                                                     version of
                                                                                                                                                                                             of the
                                                                                                                                                                                                ttie
                                                                     Terms, which
                                                                     Terms. wtiicti will
                                                                                    will always be at
                                                                                         always be at x.com/tos   willill govern
                                                                                                      x.com/tos., w       govern our
                                                                                                                                 our relationship  with
                                                                                                                                     relationstiip w       you. Ottier
                                                                                                                                                     il t, you. Other ttian
                                                                                                                                                                       than for
                                                                                                                                                                            for changes
                                                                                                                                                                                changes addressing
                                                                                                                                                                                        addressing new
                                                                                                                                                                                                   new
                                                                     functions or
                                                                     functions or made
                                                                                  made for
                                                                                       for legal
                                                                                           legal reasons. we will
                                                                                                 reasons, we will notify
                                                                                                                  notify you
                                                                                                                         you 30
                                                                                                                             30 days
                                                                                                                                days in advance of
                                                                                                                                     in advance of making
                                                                                                                                                   making effective changes to
                                                                                                                                                          effective ctianges to tthese
                                                                                                                                                                                  tiese Terms
                                                                                                                                                                                        Terms
                                                                      that impact
                                                                     ttiat  im pact the
                                                                                    ttie rights
                                                                                         rigtits or  obligations ofof any
                                                                                                  or obligations      any party to ttiese
                                                                                                                          party to  these Terms.
                                                                                                                                          Terms, for
                                                                                                                                                  for example
                                                                                                                                                      example via
                                                                                                                                                                via aa service
                                                                                                                                                                       service notification  or an
                                                                                                                                                                               notificat ion or an email
                                                                                                                                                                                                   email to
                                                                                                                                                                                                          to the
                                                                                                                                                                                                             ttie
                                                                     eemail
                                                                        mail associated
                                                                              associated with
                                                                                           wit ti your
                                                                                                  your account.
                                                                                                        account. By    continuing to
                                                                                                                   By continuing   to access
                                                                                                                                      access or
                                                                                                                                              or use
                                                                                                                                                 use ttie
                                                                                                                                                      the Services
                                                                                                                                                          Services after
                                                                                                                                                                     after those
                                                                                                                                                                           those revisions
                                                                                                                                                                                  revisions become
                                                                                                                                                                                             become effective.
                                                                                                                                                                                                      effective,
                                                                     you agree
                                                                     you agree to be bound
                                                                               to be bound by
                                                                                           by the
                                                                                              ttie revised
                                                                                                   revised Terms.
                                                                                                           T~rms.


                                                                     To the
                                                                     To ttie extent
                                                                             extent permitted
                                                                                    permitted by
                                                                                              by law,
                                                                                                 law. you waive ttie
                                                                                                      you waive the rigtit
                                                                                                                     right to
                                                                                                                           to participate
                                                                                                                              participate as
                                                                                                                                          as aa pplaintiff  or class
                                                                                                                                                   laintiff or class member
                                                                                                                                                                     member inin any purported
                                                                                                                                                                                 any p          class
                                                                                                                                                                                       urported class
                                                                     action, collective
                                                                     action. collective action
                                                                                        action or
                                                                                               or representative action proceeding.
                                                                                                  representative action proceeding.


                                                                     The X
                                                                     The X User   Agreement isis written
                                                                            User Agreement       written inin English
                                                                                                              Engllsti but  is made
                                                                                                                       but is          available in
                                                                                                                               made available        multiplele languages
                                                                                                                                                  in multip     languages ttirougt,
                                                                                                                                                                          through translations.
                                                                                                                                                                                     translations. XX strives
                                                                                                                                                                                                      strives to
                                                                                                                                                                                                              to
                                                                     make the
                                                                     make  ttie translations
                                                                                translations as
                                                                                             as accurate
                                                                                                accurate as  as possible
                                                                                                                possib le to  the original
                                                                                                                           to ttie original Englist,
                                                                                                                                             English versioo.
                                                                                                                                                      version. However.
                                                                                                                                                                 However, in  case ooff any
                                                                                                                                                                          in case       any ddiscrepancies
                                                                                                                                                                                              iscrepancies oror
                                                                     inconsistencies, the
                                                                     inconsistencies.      English language
                                                                                      ttie Englisti language version of tthe
                                                                                                             version of       X User
                                                                                                                          tie X      Agreement stiall
                                                                                                                                User Agreement shall take
                                                                                                                                                      take precedence.
                                                                                                                                                           precedence. You
                                                                                                                                                                       You acknowledge
                                                                                                                                                                           acknowledge that
                                                                                                                                                                                       ttiat
                                                                     English
                                                                     Eng listi shall  be the
                                                                               stiall be the language
                                                                                             la nguage of
                                                                                                       of reference for interpreting
                                                                                                          reference for interpreting and
                                                                                                                                     and constructing
                                                                                                                                         constructing the
                                                                                                                                                      the terms
                                                                                                                                                          terms of
                                                                                                                                                                of the
                                                                                                                                                                   the X
                                                                                                                                                                       X Use<
                                                                                                                                                                         User Agreement,
                                                                                                                                                                              Agreement.

                                                                     In the
                                                                     In the event
                                                                            event that
                                                                                  that any
                                                                                       any provision
                                                                                           provision of
                                                                                                     of tthese  Terms is
                                                                                                          tiese Terms    held toto be
                                                                                                                      is held         invalid or
                                                                                                                                   be invalid or unenforceable.
                                                                                                                                                 unenforceable, then
                                                                                                                                                                then tthat
                                                                                                                                                                       hat provision
                                                                                                                                                                           provision will be limited
                                                                                                                                                                                     will be limited oorr
                                                                     eeliminated
                                                                        liminated to
                                                                                  to the
                                                                                     the minimum
                                                                                          minimum extent
                                                                                                     extent necessary,  and the
                                                                                                            necessary. and   the remainirlQ
                                                                                                                                  remaining pprovisions   of these
                                                                                                                                              rovisio ns of  these Terms
                                                                                                                                                                   Terms will
                                                                                                                                                                          will remain
                                                                                                                                                                               remain in full force
                                                                                                                                                                                      in full       and
                                                                                                                                                                                              force and
                                                                      effect. Our
                                                                     effect.  Our failure
                                                                                  failure to
                                                                                          to enforce
                                                                                             enforce any
                                                                                                      any right
                                                                                                          right or provision of
                                                                                                                or provision  of these
                                                                                                                                 these Terms
                                                                                                                                        Terms will  not be
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